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                                   8                                              UNITED STATES DISTRICT COURT

                                   9                                          NORTHERN DISTRICT OF CALIFORNIA

                                  10                                                          San Francisco Division

                                  11      DJENEBA SIDIBE, et al.,                                                  Case No. 12-cv-04854-LB
                                  12                            Plaintiffs,                                        (REDACTED) ORDER GRANTING
Northern District of California
 United States District Court




                                                                                                                   MOTION TO CERTIFY CLASS
                                  13                  v.                                                           UNDER RULE 23(B)(2) AND DENYING
                                                                                                                   WITHOUT PREJUDICE MOTION TO
                                  14      SUTTER HEALTH,                                                           CERTIFY CLASS UNDER RULE
                                                                                                                   23(B)(3)
                                  15                            Defendant.
                                                                                                                   Re: ECF Nos. 348 (under seal) and 379
                                  16
                                                                                                                   (redacted version)
                                  17

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                                   1                                              INTRODUCTION

                                   2         In this putative class action, six plaintiffs (four individuals who enrolled in health-insurance

                                   3   policies from the health plans Aetna, Anthem Blue Cross, and Blue Shield and two small

                                   4   companies that paid for health insurance for their employees) are suing Sutter Health, which owns

                                   5   and operates a network of hospitals and medical-service providers in Northern California, for

                                   6   violations of the federal Sherman Antitrust Act, the California Cartwright Act, and the California

                                   7   Unfair Competition Law.

                                   8         The plaintiffs allege that Sutter has “market power” in seven specific “geographic markets”

                                   9   (the “Tying Markets”) in Northern California, where Sutter’s hospitals are either the only hospital

                                  10   (i.e., a monopoly) or the dominant hospital in the market.1 Health plans like Anthem and Blue

                                  11   Shield must include those Sutter hospitals in their provider networks to be able to assemble health-

                                  12   insurance products that are commercially marketable.2 Sutter allegedly uses that leverage to
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                                  13   require that health plans enter into “systemwide contracts” that include “all-or-nothing” and “anti-

                                  14   steering” provisions. Those provisions (1) require health plans to accept as in-network providers

                                  15   all of Sutter’s hospitals, at the prices Sutter dictates, and (2) prevent health plans from

                                  16   incentivizing their enrollees to go to lower-cost hospitals instead of Sutter’s higher-cost hospitals.3

                                  17         In particular, the plaintiffs allege that Sutter (1) requires health plans to include its hospitals in

                                  18   four other geographic markets (the “Tied Markets”), at the prices Sutter dictates, and (2) prevents

                                  19   health plans from incentivizing their enrollees to go to non-Sutter hospitals in the Tied Markets.4

                                  20   Unlike in the Tying Markets, where Sutter has market power, in the Tied Markets, there are more

                                  21   hospitals and more hospital competition. This competition normally would drive Sutter’s prices

                                  22

                                  23

                                  24
                                       1
                                        Fourth Amend. Compl. (“4AC”) – ECF No. 204 at 4 (¶ 4), 10 (¶¶ 30–31), 29 (¶¶ 86–87). The
                                       plaintiffs originally alleged eight Tying Markets but stipulated that summary judgment should be
                                  25   granted with respect to one of them. Citations refer to material in the Electronic Case File (“ECF”);
                                       pinpoint citations are to the ECF-generated page numbers at the top of documents.
                                  26   2
                                           Id. at 4 (¶ 6), 11–12 (¶ 35).
                                       3
                                  27       Id. at 4–5 (¶¶ 5–7), 11–12 (¶¶ 33–36), 13–15 (¶¶ 40–45).
                                       4
                                           Id.
                                  28

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                                   1   down.5 But by tying its hospitals in the Tied Markets to its “must have” hospitals in the Tying

                                   2   Markets, Sutter forecloses competition by other hospitals in the Tied Markets and thus is able to

                                   3   charge and maintain supra-competitive prices at its hospitals.6 The plaintiffs allege that the health

                                   4   plans have to pay Sutter supra-competitive prices and then, in turn, pass on those costs through to

                                   5   their customers in the form of higher premiums.7 Consequently, it is the health plans’ customers

                                   6   — individuals and employers that buy health insurance — that ultimately bear the burden of

                                   7   paying Sutter’s supra-competitive prices.8

                                   8         The plaintiffs seek (1) treble damages and restitution from Sutter to compensate them for the

                                   9   overcharges they incurred from Sutter’s alleged anticompetitive behavior and (2) a declaration that

                                  10   Sutter’s practices are anticompetitive and an injunction barring Sutter from continuing to engage

                                  11   in anticompetitive behavior, including its “tying,” “all-or-nothing,” and “anti-steering”

                                  12   arrangements.9 They move to certify a class under Federal Rule of Civil Procedure 23(b)(2) and
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                                  13   (b)(3) of all individuals and entities located in nine specific California Rating Areas (“RAs”)10 that

                                  14   paid premiums for fully insured health-insurance policies from the health plans Blue Shield,

                                  15   Anthem, Aetna, Health Net, or UnitedHealthcare from September 28, 2008 to the present.11

                                  16         Sutter opposes the plaintiffs’ motion. Sutter’s main arguments are that (1) there are intraclass

                                  17   differences and conflicts that render the plaintiffs atypical and inadequate to represent the class

                                  18   and (2) individual issues about whether class members suffered antitrust injury, and how class

                                  19   members’ damages would be calculated, predominate over common issues.

                                  20

                                  21

                                  22
                                       5
                                           See id. at 6 (¶ 9), 30 (¶ 94).
                                  23   6
                                           Id. at 4–5 (¶¶ 5–8), 11–12 (¶¶ 35–36), 30 (¶ 94), 33 (¶¶ 103–05).
                                  24   7
                                           Id. at 3 (¶ 2), 5 (¶ 8), 10 (¶ 28), 34–35 (¶¶ 109–12).
                                       8
                                  25       Id.
                                       9
                                           Id. at 43.
                                  26   10
                                         Under the Affordable Care Act, states are required to define geographic “rating areas” to be used by
                                  27   health plans in setting premium prices for individual and small-group health-insurance policies. 42
                                       U.S.C. § 300gg(a)(2).
                                  28   11
                                            Pls. Mot. for Class Certification (“MCC”) – ECF No. 379 at 3.

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                                   1         The court held a hearing and now rules as follows. The court finds that the plaintiffs have not

                                   2   made a showing that issues of antitrust injury and damages are subject to common proof such that

                                   3   certification of a damages class under Rule 23(b)(3) is appropriate. But the court also finds that the

                                   4   plaintiffs have met the requirements for certification of an injunctive- and declaratory-relief class

                                   5   under Rule 23(b)(2). The court thus grants the plaintiffs’ motion to certify their proposed class

                                   6   under Rule 23(b)(2) and denies without prejudice their motion to certify their proposed class under

                                   7   Rule 23(b)(3).

                                   8

                                   9                                               STATEMENT

                                  10   1. The Proposed Class

                                  11         The plaintiffs seek to certify a proposed class of:

                                  12             All entities in California Rating area 1, 2, 3, 4, 5, 6, 8, 9 or 10 (the “Nine RAs”),
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                                                 and all individuals that either live or work in one of the Nine RAs, that paid
                                  13             premiums for a fully-insured health insurance policy from Blue Shield, Anthem
                                                 Blue Cross, Aetna, Health Net or United Healthcare from September 28, 2008 to
                                  14
                                                 the present. This class definition includes Class Members that paid premiums for
                                  15             individual health insurance policies that they purchased from these health plans and
                                                 Class Members that paid premiums, in whole or in part, for health insurance
                                  16             policies provided to them as a benefit from an employer or other group purchaser
                                                 located in one of the Nine RAs.12
                                  17

                                  18
                                  19   2. Background

                                  20         “‘The market for hospital services and medical care is complex.’” Sidibe v. Sutter Health, No.

                                  21   12-cv-04854-LB, 2019 WL 2078788, at *4 (N.D. Cal. Apr. 12, 2019) (quoting Cascade Health

                                  22   Sols. v. PeaceHealth, 515 F.3d 883, 891 (9th Cir. 2008)). “There are at least three transactions

                                  23   involved in providing hospital services and health care in connection with health insurance.” Id.

                                  24         “First, hospitals [such as Sutter] sell hospital services to health-insurance plans [such as Blue

                                  25   Shield, Anthem, Aetna, Health Net, or UnitedHealthcare]. Hospitals and health plans negotiate

                                  26   whether a given hospital will be included in the health plan’s network and negotiate the rates that

                                  27

                                  28   12
                                            Pls. MCC – ECF No. 379 at 13.

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                                   1   the health plan will pay the hospital for its hospital services.” Id. (citing Saint Alphonsus Med.

                                   2   Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d 775, 784 & n.10 (9th Cir. 2015) (citing

                                   3   Gregory Vistnes, Hospitals, Mergers, and Two-Stage Competition, 67 Antitrust L.J. 671, 672, 674

                                   4   (2000))). “These negotiations are highly price-sensitive.” Id. (citing FTC v. Advocate Health Care

                                   5   Network, 841 F.3d 460, 465 (7th Cir. 2016) (citing Vistnes, 67 Antitrust L.J. at 674–75)). “All else

                                   6   being equal, hospitals prefer higher rates and health plans prefer lower rates.” Id. (citing Cascade

                                   7   Health, 515 F.3d at 892).13

                                   8         “Second, health plans sell health insurance to consumers. The consumers are individuals (who

                                   9   directly purchase health insurance for themselves or their families) and employers (which

                                  10   purchase health insurance for their employees).” Id. at *5 (citing Cascade Health, 515 F.3d at 892;

                                  11   St. Luke’s, 778 F.3d at 784). “An important way that health plans compete for consumers is their

                                  12   provider networks: the hospitals, physicians, and ancillary providers that the health plan offers ‘in
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                                  13   network’ and that enrollees are encouraged to use.” Id. (citing Gregory S. Vistnes & Yianis

                                  14   Sarafidis, Cross-Market Hospital Mergers: A Holistic Approach, 79 Antitrust L.J. 253, 267

                                  15   (2013)). “All else being equal, a health plan with a more comprehensive provider network will be

                                  16   more attractive to consumers.” Id. (citing Vistnes & Sarafidis, 79 Antitrust L.J. at 267). “At the

                                  17   same time, health plans that have high-priced providers in their networks have higher costs.” Id.

                                  18   (citing Vistnes & Sarafidis, 79 Antitrust L.J. at 267). “Thus, in choosing how inclusive their

                                  19   provider network is, health plans balance the benefit of more comprehensive networks with the

                                  20   costs of paying more to providers in their networks.” Id. (citing Vistnes & Sarafidis, 79 Antitrust

                                  21   L.J. at 267).14

                                  22         “Third, hospitals seek to attract health-plan enrollees who need hospital services to come to

                                  23   them (as opposed to other hospitals).” Id. (citing St. Luke’s, 778 F.3d at 784 n.10 (citing Vistnes,

                                  24   67 Antitrust L.J. at 681–82); Advocate Health, 841 F.3d at 471 (citing Vistnes, 67 Antitrust L.J. at

                                  25   672); FTC v. Penn State Hershey Med. Ctr., 838 F.3d 327, 342 (3d Cir. 2016) (citing Vistnes,

                                  26
                                  27
                                       13
                                         Accord Chipty Decl. – ECF No. 379-1 at 17 (¶ 14); Chipty Dep. – ECF No. 415-1 (under seal) at
                                       122 (p. 425).
                                  28   14
                                            Accord Chipty Dep. – ECF No. 415-1 (under seal) at 123–24 (pp. 426–31).

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                                   1   Antitrust L.J. at 672)). “Unlike health plans, which are sensitive to the prices that hospitals charge

                                   2   for their services, enrollees are ‘largely insensitive’ to price because the prices that hospitals

                                   3   charge are largely borne by the enrollees’ health plans, not by the enrollees.” Id. (some internal

                                   4   quotation marks omitted) (quoting St. Luke’s, 778 F.3d at 784 n.10 (citing Vistnes, 67 Antitrust

                                   5   L.J. at 682) and citing Advocate Health, 841 F.3d at 471 (citing Vistnes, 67 Antitrust L.J. at 677,

                                   6   680); Penn State Hershey, 838 F.3d at 342). “Instead of taking price into account, enrollees choose

                                   7   hospitals based mostly on non-price factors, such as location or quality of services.” Id. (internal

                                   8   quotation marks omitted) (quoting Penn State Hershey, 838 F.3d at 341 and citing St. Luke’s, 778

                                   9   F.3d at 784 n.10 (citing Vistnes, 67 Antitrust L.J. at 682); Advocate Health, 841 F.3d at 465

                                  10   (citing Vistnes, 67 Antitrust L.J. at 677, 682)).15

                                  11

                                  12   3. The Plaintiffs’ Antitrust Allegations Regarding Sutter’s Anticompetitive Practices
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                                  13         3.1    Sutter’s Systemwide Contracting and Its “All-or-Nothing,” “Anti-Steering,” and
                                                    “Penalty Rate” Provisions
                                  14

                                  15         As of 2015, Sutter was the largest health system (other than Kaiser Permanente) in Northern

                                  16   California, with 22 hospitals and approximately 4,000 patient beds.16 Currently, Sutter has 24

                                  17   hospitals and approximately 5,200 patient beds.17

                                  18         Before the early 2000s, health plans were able to negotiate with Sutter’s various hospitals

                                  19   individually. Health plans could include some Sutter hospitals in their provider network while

                                  20   excluding (or threatening to exclude) others. Under that structure, if a health plan determined that

                                  21   a particular Sutter hospital was too expensive, it had the option to exclude that hospital from its

                                  22   provider networks. Consequently, each Sutter hospital had an incentive to offer competitive prices

                                  23

                                  24

                                  25   15
                                         Accord Chipty Decl. – ECF No. 379-1 at 17 (¶ 14); Chipty Dep. – ECF No. 415-1 (under seal) at
                                       122 (p. 425). Some enrollees may be more directly sensitive to price, e.g., enrollees in high-deductible
                                  26   plans. Sidibe, 2019 WL 2078788, at *5 n.13 (citing Penn State Hershey, 838 F.3d at 342 n.6).
                                  27
                                       16
                                            Chipty Decl. – ECF No. 379-1 at 20–22 (¶ 20).
                                       17
                                            Id. at 22–23 (¶¶ 21–22).
                                  28

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                                   1   to incentivize health plans to include the hospital in their provider networks (which in turn would

                                   2   result in the hospital getting more patient volume).18

                                   3        The plaintiffs maintain that beginning in the early 2000s, Sutter began requiring health plans to

                                   4   enter into “systemwide” contracts that included “all-or-nothing” requirements. Sutter’s

                                   5   systemwide contracts require, or effectively require, a health plan that wants to include one Sutter

                                   6   hospital in its provider network to include all Sutter hospitals. Additionally, Sutter’s systemwide

                                   7   contracts contain “anti-steering” provisions that effectively bar health plans from creating “tiered”

                                   8   insurance products to incentivize their enrollees to use lower-cost non-Sutter hospitals rather than

                                   9   more expensive Sutter hospitals (i.e., products where enrollees pay lower co-pays to use providers

                                  10   in higher tiers and higher co-pays to use providers in lower tiers where Sutter hospitals are in a

                                  11   lower tier).19

                                  12        More specifically, Sutter’s systemwide contracts include provisions under which health plans
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                                  13   must pay Sutter what they have characterized as “penalty rates”20 for any Sutter hospital that they

                                  14

                                  15
                                       18
                                          Joyner Decl. – ECF No. 497 at 4–5 (¶ 7) (“Prior to 2002, Blue Shield negotiated with Sutter’s
                                  16   various hospitals, physician groups, and other providers individually to assemble provider networks.
                                       Blue Shield had the ability to decide whether and under what conditions each Sutter provider could
                                  17   participate in Blue Shield’s provider networks. During that time, if Blue Shield found that a particular
                                       Sutter provider was too expensive, it had the option to exclude that provider from its networks.
                                  18   Therefore, each Sutter provider had an incentive to offer competitive prices if it wanted to be included
                                       in Blue Shield’s networks.”); Melody Decl. – ECF No. 313-1 (under seal) at 5 (¶ 9); Lacroix-Milani
                                  19   Decl. – ECF No. 314 (under seal) at 6 (¶ 12); Welsh Decl. – ECF No. 335 (under seal) at 5 (¶ 11).
                                  20
                                       19
                                          Joyner Decl. – ECF No. 497 at 5 (¶ 8) (“This dynamic changed dramatically when Sutter announced
                                       that all of its providers would be negotiating as a bloc on a ‘systemwide’ basis. Beginning with the
                                  21   negotiations leading to the 2002 Systemwide Amendment between Sutter and Blue Shield, it became
                                       clear that selecting anything less than all Sutter hospitals and physician groups would have resulted in
                                  22   a requirement that Blue Shield and its self-funded health plan customers pay unsustainably high prices
                                       for the healthcare services of Sutter’s providers. Thus, as a practical matter, inclusion of one Sutter
                                  23   hospital suddenly required inclusion of all Sutter hospitals and physician groups, and one systemwide
                                       agreement would govern all of the relationships between Blue Shield and each Sutter provider. This
                                  24   was Sutter’s ‘systemwide’ negotiation strategy. It required Blue Shield to include ‘all’ of Sutter’s
                                       hospitals and physician groups in any new networks for the health plans to be competitive.”), 6 (¶¶ 15–
                                  25   16), 10 (¶ 30); Melody Decl. – ECF No. 313-1 (under seal) at 5–6 (¶¶ 9–13), 7 (¶ 18), 9 (¶ 26); de la
                                       Torre Decl. – ECF No. 312-4 (under seal) at 5 (¶ 12); Lacroix-Milani Decl. – ECF No. 314 (under
                                  26   seal) at 5–6 (¶¶ 9, 12–14); Lundbye Decl. – ECF No. 321 (under seal) at 4 (¶ 8), 8 (¶ 16); Welsh Decl.
                                       – ECF No. 335 (under seal) at 4 (¶¶ 9–10), 5 (¶¶ 12–14).
                                  27   20
                                          Joyner Decl. – ECF No. 497 at 11–12 (¶¶ 34–35); Melody Decl. – ECF No. 313-1 (under seal) at 8
                                       (¶ 23); de la Torre Decl. – ECF No. 312-4 (under seal) at 6 (¶ 14), 7 (¶¶ 17–18).
                                  28

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                                   1   place out-of-network or in a lower tier. Typically, when health-plan enrollees use a hospital that is

                                   2   not in-network, the hospital can charge the health plan only the “reasonable and customary value”

                                   3   of the hospital services provided, as mandated by state law. Sutter, however, requires health plans

                                   4   to sign contracts that supersede the “reasonable and customary value” limit on charges and instead

                                   5   require health plans to pay 95 percent of Sutter’s “full billed charges” — a substantially higher

                                   6   amount — if their enrollees use Sutter hospitals that they have placed out-of-network or in a lower

                                   7   tier. No matter how a health plan might structure its health-insurance products, it is inevitable that

                                   8   some enrollees will have to use Sutter hospitals (e.g., if they need emergency care and a Sutter

                                   9   hospital is the nearest hospital), in which case Sutter’s “penalty rates” would apply. These higher

                                  10   “penalty rates” reduce or eliminate any savings the health plans could achieve by excluding or

                                  11   tiering Sutter hospitals in the first place. Consequently, even where health plans technically are

                                  12   permitted under their contracts to exclude or tier Sutter hospitals, they are effectively prevented
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                                  13   from doing so in a way that would give Sutter any incentive to lower its prices.21

                                  14
                                       21
                                  15        As a former Senior Vice President from Blue Shield explained:
                                                 Sutter’s unique out-of-network pricing terms worked as follows: In California, health
                                  16         plans must pay the appropriate charges for emergency room services even when their
                                             members seek emergency room treatment at out-of-network hospitals. Typically, when a
                                  17         Blue Shield member uses a hospital outside of Blue Shield’s provider network (e.g., in an
                                             emergency situation), the amount that Blue Shield (or its self-funded customers) must pay
                                  18         may be limited to the “reasonable and customary value for the health care services
                                             rendered,” as mandated by state law for out-of-network providers. (Cal. Code Regs., title
                                  19         28 §1300.71(a)(3)(B).) The “reasonable and customary” rates that Blue Shield pays for
                                             services at an out-of-network hospital are often somewhat higher than the rates it would
                                  20         pay to an in-network hospital but they typically are substantially less than the “full billed
                                             charges” that hospitals often list on their hospital “chargemasters” for their services.
                                  21
                                                 A substantial percentage of hospital healthcare is provided through hospital emergency
                                  22         rooms and large numbers of CalPERS [California Public Employees’ Retirement System]
                                             health plan enrollees inevitably would end up in the emergency rooms of Sutter’s 26 acute
                                  23         care hospitals in Northern California. Accordingly, Sutter demanded that CalPERS agree
                                             in advance to pay 95% of full billed charges for any services provided at an out-of-network
                                  24         (“non-participating”) Sutter hospital. As a result, CalPERS had to agree in advance to pay
                                             “non-par” rates that substantially exceeded the “reasonable and customary” out-of-network
                                  25         rates otherwise mandated by state law.
                                                 ....
                                  26
                                                 In 2005, Sutter introduced the concept of the Non-Par rate, or 95% of billed charges,
                                  27         into its Systemwide Amendment with Blue Shield. . . .
                                                 ....
                                  28

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                                   1      The plaintiffs maintain that Sutter can impose these systemwide contracts on health plans

                                   2   because it has “market power” in seven specific geographic markets — the Tying Markets — in

                                   3   Northern California. Sutter hospitals are either the only hospital or the predominant hospital in

                                   4

                                   5
                                              The power of the Non-Par (95% of billed charges) rate cannot be overstated. Blue
                                   6      Shield has performed financial analyses that have concluded that payment of 95% of
                                          Sutter’s full billed charges erases any possible benefit of excluding some higher-priced
                                   7      Sutter providers from a network. This is because it is impossible to prevent health plan
                                          enrollees from using Sutter hospitals in all instances. If a member needs emergency care
                                   8      and uses a Sutter hospital outside of his plan (a common scenario we refer to as “leakage”),
                                          then Blue Shield (and its self-funded payor customers) would have to pay 95% of billed
                                   9      charges to Sutter. These prices are so high that having to pay them would defeat any
                                          significant benefit of a narrow network.
                                  10          ....

                                  11           For many years Blue Shield has attempted to create tiered networks to foster price and
                                          quality competition among the health care providers in its networks. In 2001, for example,
                                  12      Blue Shield created a tiered network called Network Choice that included Sutter hospitals,
                                          but Sutter required that all of its facilities be included as “Tier 1 (Choice) providers.”
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                                  13      Sutter threatened that Blue Shield and its self-funded health plan customers would have to
                                          pay Non-Par rates equal to 95% of full-billed charges if all its facilities were not placed in
                                  14      the preferred tier. By requiring that all of its facilities be included in the first tier, Sutter
                                          prevented Blue Shield from offering customers financial incentives to utilize more cost-
                                  15      effective hospitals. Thus, although Sutter technically was participating in a tiered product,
                                          its hospitals were not placed in the lower tier that actually corresponded with its
                                  16      significantly higher prices.
                                              ....
                                  17
                                              Sutter’s threat to charge Non-Par rates in response to Blue Shield’s proposals for tiered
                                  18      products was typically the death knell for these products. If Blue Shield and its self-funded
                                          health plan customers had to pay this exorbitant 95% of billed charges rate, an amount
                                  19      much higher than Blue Shield had to pay any other out-of-network provider, these products
                                          would be economically unfeasible. Any benefit to be gained by excluding high-priced
                                  20      Sutter hospitals from Tier 1 would be erased once the inevitable emergency room
                                          “leakage” to Non-Par Sutter hospitals occurred.
                                  21          ....
                                  22          Sutter’s anti-tiering contractual restraints affected Blue Shield and each of Blue
                                          Shield’s self-funded health plan customers in precisely the same manner. Because Sutter
                                  23      contractually prohibited health plans from giving their members financial incentives to
                                          select lower-priced alternatives, insisted upon 1st Tier status for Sutter providers that did
                                  24      not qualify and imposed charges for non-participating Sutter providers at non-par rates of
                                          95% of full billed charges, Sutter was able to destroy the ability of any “tiered” health plan
                                  25      to moderate Sutter’s above-market pricing.
                                       Joyner Decl. – ECF No. 497 at 10–18 (¶¶ 31–55); accord Melody Decl. – ECF No. 313-1 (under seal)
                                  26   at 6–10 (¶¶ 14–31); de la Torre Decl. – ECF No. 312-4 (under seal) at 6–9 (¶¶ 13–28); Lacroix-Milani
                                       Decl. – ECF No. 314 (under seal) at 6–15 (¶¶ 12–36); Lundbye Decl. – ECF No. 321 (under seal) at 4–
                                  27   7 (¶¶ 9–13), 8–10 (¶¶ 18–21); Welsh Decl. – ECF No. 335 (under seal) at 5–11 (¶¶ 11–36), 12–13
                                       (¶¶ 45–46).
                                  28

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                                   1   those markets. Because health plans are required to offer their enrollees at least one nearby in-

                                   2   network hospital, they have no choice but to contract with Sutter so that they can include those

                                   3   Tying Market hospitals in their provider networks. Sutter then uses the fact that health plans have

                                   4   no choice but to contract with it to force health plans to accept its systemwide-contract terms,

                                   5   including its all-or-nothing, anti-steering, and penalty-rate provisions.22

                                   6        The plaintiffs maintain that Sutter’s systemwide contracts allow it to charge higher prices at its

                                   7   hospitals in certain other geographic markets — the Tied Markets. Unlike in the Tying Markets, in

                                   8   the Tied Markets, there are more hospitals and more competition among hospitals. Those other

                                   9   hospitals normally would act as price constraints on Sutter hospitals. Health plans could threaten

                                  10   to exclude Sutter hospitals in favor of those other hospitals or place Sutter hospitals in lower tiers

                                  11   — thereby reducing Sutter hospitals’ patient volume (and, thus, their revenues) — to negotiate

                                  12   with Sutter to get it to lower its prices. But the systemwide contracts that Sutter imposes on health
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                                  13   plans effectively bar health plans from using these negotiating tactics. Health plans thus are

                                  14   prevented from exposing Sutter to price competition. As a result, Sutter is free to charge supra-

                                  15   competitive prices at its hospitals in the Tied Markets.23

                                  16

                                  17   22
                                          Joyner Decl. – ECF No. 497 at 7 (¶ 20) (“Sutter’s new ‘systemwide’ approach was very effective in
                                       promoting all-or-nothing contracting in the context of California’s healthcare laws regulating the
                                  18   assembly of provider networks. For example, in assembling a provider network to be marketed to self-
                                       funded payors and insured clients, California law requires Blue Shield to create a network with access
                                  19   to health care providers such that ‘all enrollees have a residence or workplace within 30 minutes or 15
                                       miles of a contracting or plan-operated hospital . . . .’ (Cal. Code Regs. title 28, § 1300.51(d)(H)(ii)).
                                  20   For example, if one of Blue Shield’s self-funded customers has an employee living in a rural area of
                                       Northern California, and the only hospital within 30 minutes or 15 miles of his residence or workplace
                                  21   was a Sutter Hospital, the law mandates that Sutter’s hospital be included in the network. Beginning
                                       with Sutter’s 2002 Systemwide Amendment, Blue Shield could not feasibly contract with that one
                                  22   Sutter hospital alone. It had to include all Sutter providers on a ‘systemwide’ basis.”) (ellipsis in
                                       original), 9 (¶ 27); Melody Decl. – ECF No. 313-1 (under seal) at 5 (¶¶ 7–8), 6 (¶ 11); de la Torre
                                  23   Decl. – ECF No. 312-4 (under seal) at 4 (¶¶ 8–9); Lacroix-Milani Decl. – ECF No. 314 (under seal) at
                                       5–6 (¶ 9), 11 (¶ 28); Lundbye Decl. – ECF No. 321 (under seal) at 3–4 (¶¶ 5–6); Welsh Decl. – ECF
                                  24   No. 335 (under seal) at 4 (¶ 8).
                                  25
                                       23
                                          Joyner Decl. – ECF No. 497 at 8–9 (¶¶ 23–25) (“It would have been desirable for Blue Shield to
                                       foster price competition by excluding selected Sutter hospitals in locations where there were
                                  26   competing hospitals that had higher or comparable quality but charged significantly lower prices.
                                       However, for all of the reasons described above, it was not economically feasible to assemble a
                                  27   provider network in Northern California that excluded all of Sutter’s hospitals and medical practices
                                       from Blue Shield’s provider networks. Therefore, Sutter’s ‘all or none’ contracting policy substantially
                                  28   impaired Blue Shield’s ability to foster price competition. As a result, Sutter was able to quickly raise

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                                   1         The plaintiffs maintain that Sutter engages in systemwide contracting with its all-or-nothing,

                                   2   anti-steering, and penalty-rate provisions with each of the health plans Blue Shield, Anthem,

                                   3   Aetna, Health Net, or UnitedHealthcare in the same general way. Sutter also charges these health

                                   4   plans the same allegedly supra-competitive prices, across different insurance products offered by

                                   5   any one health plan, and across different health plans.24

                                   6         3.2   The “But For” World

                                   7         The plaintiffs maintain that in the “but for” world — the counterfactual world where Sutter did

                                   8   not tie its hospitals or engage in anticompetitive practices25 — health plans would be able to

                                   9   negotiate lower rates from Sutter. While health plans might still have no choice but to contract

                                  10   with Sutter hospitals in the Tying Markets, in the but-for world, health plans could threaten to

                                  11   exclude Sutter hospitals in the Tied Markets from their provider networks or place those Sutter

                                  12   hospitals in a lower tier in lieu of other competitor hospitals. In the face of this competition, Sutter
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                                  13   would no longer be able to charge supra-competitive prices at its Tied Market hospitals and

                                  14   instead would have to lower its prices to stay competitive. The plaintiffs maintain that this would

                                  15   benefit all healthcare consumers and class members.26

                                  16         For example, suppose a health plan currently offers a health-insurance policy that costs $100 a

                                  17   month and includes Tied Market Sutter hospitals in the top tier of its in-network providers. Under

                                  18
                                  19
                                       its reimbursement rates significantly above the rates that competing providers charged. . . . At or
                                  20   around the time that Blue Shield entered into its ‘systemwide’ agreement with Sutter in 2002, Blue
                                       Shield determined that Sutter’s pricing for acute care hospital services began increasing at a
                                  21   dramatically faster pace than the prices of all or nearly all of its competitors.”) (emphasis in original),
                                       9 (¶ 27), 12 (¶ 36), 18–20 (¶¶ 54–61); Melody Decl. – ECF No. 313-1 (under seal) at 8–9 (¶ 24), 10
                                  22   (¶ 30); de la Torre Decl. – ECF No. 312-4 (under seal) at 3–4 (¶¶ 4–7); de la Torre Decl. – ECF No.
                                       312-4 (under seal) at 5 (¶ 10), 7 (¶ 16); Lacroix-Milani Decl. – ECF No. 314 (under seal) at 4–5 (¶¶ 5–
                                  23   7), 6 (¶ 10); Lundbye Decl. – ECF No. 321 (under seal) at 9–10 (¶ 20).
                                       24
                                          Joyner Decl. – ECF No. 497 at 5–6 (¶ 13), 20 (¶ 61); Melody Decl. – ECF No. 313-1 (under seal) at
                                  24   4 (¶¶ 4, 6); de la Torre Decl. – ECF No. 312-4 (under seal) at 5 (¶ 11); Lacroix-Milani Decl. – ECF
                                       No. 314 (under seal) at 15 (¶¶ 37–39); Welsh Decl. – ECF No. 335 (under seal) at 5 (¶ 12), 13 (¶¶ 47–
                                  25   48).
                                  26
                                       25
                                         See Chipty Dep. – ECF No. 415-1 (under seal) at 125 (p. 436) (“Q. And in this case — taking the
                                       general to the specific, in this case, the but-for world would be Sutter negotiating contracts that did not
                                  27   have the challenge[d] contract terms? A. That’s correct.”).
                                       26
                                            Pls. MCC Reply – ECF No. 559 at 14.
                                  28

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                                   1   Sutter’s systemwide contracts, the health plan effectively is barred from offering an alternative

                                   2   health-insurance policy for, say, $80 a month,27 that excludes those Sutter hospitals or places them

                                   3   in a lower tier.28 In the but-for world, however, the health plan could offer such a policy. Some

                                   4   health-insurance buyers who prioritize having in-network access to Sutter hospitals might continue

                                   5   to enroll in the first policy. But others who place less importance on access to Sutter hospitals or

                                   6   more importance on lowering their insurance premiums might enroll in the new second policy

                                   7   instead. Under the second policy, those latter buyers would use Sutter hospitals less often to avoid

                                   8   the higher co-pays associated with using out-of-network or lower-tiered providers. This would

                                   9   reduce Sutter’s patient volume and, consequently, its revenues. In response, the plaintiffs argue,

                                  10   Sutter would reduce the prices it charges the health plan, so that, in turn, the health plan could

                                  11   reduce the premiums it has to charge for the first policy (perhaps down to, say, $90 a month

                                  12   instead of $100), which in turn would entice more customers to sign up for the first policy again
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                                  13   instead of the second and use more Sutter hospitals, which in turn would restore some of Sutter’s

                                  14   lost patient volume. As a result, even Sutter loyalists who would not enroll in a tiered health-

                                  15   insurance policy (even if one were offered) nonetheless would be better off in the but-for world

                                  16   because they would be able to enroll in the first non-tiered policy at a cheaper rate.29

                                  17

                                  18   4. The Plaintiffs’ Calculations of Antitrust Injury and Damages to Class Members

                                  19         One of the central issues in the litigation and in the plaintiffs’ motion for class certification

                                  20   (and Sutter’s opposition thereto) is how to assess the antitrust injury that class members allegedly

                                  21   have sustained and how to calculate class members’ purported damages.

                                  22

                                  23
                                       27
                                            These numbers are arbitrary and are used solely for illustrative purposes.
                                  24   28
                                          According to the plaintiffs, under Sutter’s systemwide contracts, the health plan either is actually
                                  25   barred from offering such a policy or is effectively barred from doing so because Sutter would then
                                       charge the health plan a “penalty rate” if any enrollee who held that policy used a Sutter hospital (e.g.,
                                  26   in an emergency situation), a rate so onerous as to make the policy unsustainable. See supra notes 19,
                                       21.
                                  27   29
                                         See Chipty Decl. – ECF No. 379-1 at 44–45 (¶¶ 61–62); Chipty Reply Decl. – ECF No. 559-1 at 20–
                                       22 (¶¶ 19, 22).
                                  28

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                                   1        The plaintiffs offer the following formula, developed by their expert Dr. Tasneem Chipty, to

                                   2   assess the purported antitrust injury and calculate damages for each class member. Broadly

                                   3   speaking, the plaintiffs’ formula is as follows:

                                   4           1. For each year between 2006 and 2015, calculate as a percentage how much of the

                                   5               amount that each relevant Sutter hospital charged each health plan and its patients was

                                   6               an overcharge (i.e., was beyond what the Sutter hospital would have charged in the but-

                                   7               for world).30

                                   8           2. Disaggregate the total amount each health plan paid to each Sutter hospital into

                                   9               “cohorts” based on (1) the geographic Rating Area where health-plan enrollees live or

                                  10               work, (2) the “group type” of the insurance buyer (individual buyers versus “small-

                                  11               group”31 employer buyers versus “large-group”32 employer buyers) and (3) year, and,

                                  12               using the overcharge percentage from step one, calculate as a dollar figure each
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                                  13               cohort’s per-member-per-month (“PMPM”) share of the overcharge.33

                                  14           3. Assume that (1) health plans pass on 100 percent of any Sutter overcharge they have to

                                  15               pay through to the premiums they charge their customers and (2) there is a lag between

                                  16               when a health plan is overcharged and when it passes that overcharge on to its

                                  17               customers in the form of higher premiums, and, based on those assumptions, divide

                                  18               each cohort’s PMPM overcharge for each year between 2006 and 2015 from step two

                                  19

                                  20   30
                                          Chipty Decl. – ECF Nos. 379-1 at 89 (¶ 137); Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1
                                  21   (redacted version) at 90–91 (¶ 138).
                                       31
                                         Until 2016, small-group employers were employers with 50 or fewer employees. From 2016
                                  22   onward, small-group employers are employers with 100 or fewer employees. Chipty Decl. – ECF No.
                                       348-3 at 25 n.53 (¶ 23 n.53); Axene Decl. – ECF No. 379-2 at 5 n.3 (¶ 5 n.3).
                                  23   32
                                          Until 2016, large-group employers were employers with over 50 employees. From 2016 onward,
                                  24   large-group employers are employers over 100 employees. Axene Decl. – ECF No. 379-2 at 5 n.3 (¶ 5
                                       n.3).
                                  25   33
                                          Chipty Decl. – ECF Nos. 379-1 at 89 (¶ 137); Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1
                                       (redacted version) at 91–94 (¶¶ 139–41). “Member-months” are a measure of how many people were
                                  26   enrolled in the health-insurance product and for how long. For example, if one enrollee was enrolled in
                                       a health-insurance product from January 1 to June 30 of a given year and another was enrolled from
                                  27   January 1 to December 31 of the same year, the two of them together would represent 18 member-
                                       months. Chipty Decl. – ECF No. 379-1 at 93 n.276 (¶ 141 n.276).
                                  28

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                                   1                  by the cohort’s total PMPM premium for each year between 2008 and 2017,

                                   2                  respectively (i.e., the PMPM premium two years later), to calculate as a percentage

                                   3                  how much of the premium was part of the Sutter overcharge.34

                                   4               4. Multiply the individual premiums each class member paid by the premium-overcharge

                                   5                  percentage from step three to calculate that class member’s share of damages.35 Where

                                   6                  an employer and an employee both paid a portion of the employee’s health-insurance

                                   7                  premium, split the damages proportionately based on the amount that the employer and

                                   8                  employee respectively contributed toward the total premium.36

                                   9         For the purposes of this order, the court focuses on two aspects of the plaintiffs’ formula:

                                  10   (1) calculating Sutter’s overcharges and (2) the assumption that health plans pass on 100 percent

                                  11   of any Sutter overcharges through to the premiums they charge their customers.37

                                  12         4.1     Calculating Sutter’s Overcharges
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                                  13         To calculate the amount that Sutter allegedly has overcharged health plans, Dr. Chipty

                                  14   developed a regression-analysis model.38

                                  15         Regression analysis is a statistical methodology for determining the relationship between a

                                  16   dependent variable and a set of explanatory variables that can influence or drive the dependent

                                  17   variable.39 In Dr. Chipty’s model, the dependent variable is hospital prices, or, more specifically,

                                  18   “case-mixed adjusted hospital prices.”40 The explanatory variables are factors that Dr. Chipty

                                  19

                                  20
                                       34
                                         Id. at 89 (¶ 137); Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1 (redacted version) at 94–96
                                       (¶¶ 142–44).
                                  21   35
                                          Chipty Decl. – ECF Nos. 379-1 at 89 (¶ 137); Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1
                                       (redacted version) at 97–98 (¶ 146).
                                  22   36
                                            Chipty Reply Decl. – ECF No. 559-1 at 44 (¶ 60).
                                  23   37
                                         The parties additionally raise disputes about other aspects of the plaintiffs’ formula, including how
                                       health plans distribute higher premiums caused by alleged Sutter overcharges across their customer
                                  24   base and how higher premiums are apportioned between employers and employees when both pay a
                                       portion of the premium for an employee’s health insurance. The court focuses in this order on the two
                                  25   aspects of the plaintiffs’ formula listed above.
                                  26
                                       38
                                            Chipty Decl. – ECF No. 379-1 at 56–76 (¶¶ 80–111).
                                       39
                                            Id. at 59–60 (¶ 88).
                                  27   40
                                         Id. at 59 (¶ 88). The “case-mixed adjusted hospital price” for a given hospital for a given year is the
                                  28   total amount of money paid to the hospital (by either the health plan or the end patient) for all

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                                   1   identified as being likely to drive hospital prices, such as the hospital’s operating costs, its

                                   2   perceived quality, the size of its system, and how many competitors it has (or variables that are

                                   3   measures or proxies of those factors).41 Dr. Chipty states that her regression model measures how

                                   4   much Sutter hospital prices are driven by her explanatory variables (costs, perceived quality, size,

                                   5   or number of competitors) versus how much they are driven by the hospital’s being in the Sutter

                                   6   system — with the latter being a measure of how much the hospital is overcharging health plans

                                   7   by virtue of being Sutter and benefiting from Sutter’s anticompetitive practices.42

                                   8         Dr. Chipty examined Sutter hospitals in the Tied Markets and in one Tying Market (Berkeley-

                                   9   Oakland) and group of “benchmark” hospitals that purportedly resemble Sutter hospitals except

                                  10   that (unlike Sutter) they do not impose tying or other similar anticompetitive restrictions on health

                                  11   plans.43 Dr. Chipty initially used claims data from the health plan Anthem to calculate the case-

                                  12   mix adjusted hospital prices charged to Anthem enrollees for each of these hospitals from 2006 to
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                                  13

                                  14

                                  15   individual claims divided by the “diagnosis related group” weights associated with those claims. Id. at
                                       63–64 (¶ 97). Dr. Chipty explains that “[d]iagnosis-related groups (‘DRGs’) categorize inpatient stays
                                  16   into groups based on the diagnosis and resources necessary to treat the condition. Each DRG is
                                       assigned a weight based on the average resources used to treat the patient. Therefore, dividing the
                                  17   allowed amount, or total eligible expenses including insurance payment and patient liability, by the
                                       DRG weight is a method of adjusting for the acuity/complexity of the inpatient stay.” Id. at 54 n.161
                                  18   (¶ 77 n.161).
                                       41
                                         Id. at 64 (¶¶ 98–99). Specifically, Dr. Chipty selected as explanatory variables (1) the hospital’s
                                  19   wage index, as a measure of the cost of paying salary to its employees, (2) whether the hospital is a
                                       major teaching hospital, (3) whether the hospital has trauma facilities, (4) how many competitors the
                                  20   hospital has, (5) the hospital’s patient ratings, as a proxy for aspects of its quality, (6) the number of
                                       inpatient beds the hospital has, as a measure of the size of its system, and (7) the year, to reflect the
                                  21   general inflation in hospital prices over time. Id. at 64–67 (¶ 99).
                                  22
                                       42
                                          Id. at 70–71 & n.215 (¶ 104 & n.215) (“The estimated coefficients on these indicator variables
                                       capture the differences between the actual price at each Sutter Damage Hospital in each year and the
                                  23   predicted but-for price that the Sutter Damage Hospital would have negotiated for that year had it not
                                       been in the Sutter system, but otherwise maintained all of its other attributes (e.g. wage index, teaching
                                  24   status, trauma status, system size, and competitive landscape). Thus, under the model assumptions, the
                                       estimated coefficients on the Sutter Damage Hospital x Year indicators capture the overcharges
                                  25   resulting from Sutter’s challenged conduct. If, for example, the coefficient on a Sutter Damage
                                       Hospital x Year indicator takes the value of 0.35, one would say that the Sutter hospital price in that
                                  26   year is 42 percent higher as a result of the challenged conduct, accounting for the log transformation
                                       [100 × (e0.35 – 1), where e is the base of the natural logarithm, or approximately 2.71828].”), 72 (¶ 107)
                                  27   (same).
                                       43
                                            Id. at 56 (¶ 80).
                                  28

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                                   1   2015.44 Dr. Chipty ran her regression model twice on the Anthem-based case-mixed adjusted

                                   2   hospital prices, (1) once on only the benchmark hospitals to calculate an “out-of-sample

                                   3   prediction” and (2) once on a sample of both Sutter and benchmark hospitals to calculate an “in-

                                   4   sample prediction.”45 (Dr. Chipty explained that, among other things, the out-of-sample regression

                                   5   generates year-by-year estimates of Sutter hospital overcharges, whereas the in-sample regression

                                   6   generates only a single average estimate of Sutter hospital overcharges.46) Based on her regression

                                   7   model, Dr. Chipty estimated Sutter’s overcharges of Anthem by year and hospital as set forth in

                                   8   the chart below.

                                   9

                                  10                                   [Opening Declaration] Exhibit 14A47
                                                        Hospital Case-Mix Adjusted Price Overcharge Percentages, Anthem
                                  11                                     Baseline Regression 2006-2015
                                                                                          Out-of-Sample                                  In-Sample
                                  12
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                                        Hospital            2006   2007    2008   2009   2010      2011   2012   2013    2014     2015   2006-2015
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                                        Alta Bates-Main
                                  13    Alta Bates-Summit
                                        Sutter Sacramento
                                        CPMC-Main
                                  14    CPMC-St. Luke’s
                                        Sutter Santa Rosa
                                  15    Sutter Modesto

                                  16

                                  17         In response to criticisms by Sutter’s expert Dr. Robert Willig that Dr. Chipty’s overcharge

                                  18   estimates were based on data only from Anthem,48 Dr. Chipty applied her regression model to

                                  19   claims data from the health plan Blue Shield.49 After processing the data, Dr. Chipty ran her

                                  20

                                  21   44
                                         The claims data contained information, at the claim level, on the inpatient hospital services received
                                       by each of Anthem’s health-plan enrollees, including the allowed amount (the amount paid to the
                                  22   hospital) for that claim. Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1 (redacted version) at 11–
                                       14 (¶ 10), 58 (¶¶ 84–85); Chipty Decl. App’x C – ECF No. 348-3 (under seal), 379-1 (redacted
                                  23   version) at 129–37.
                                  24
                                       45
                                            Chipty Decl. – ECF No. 379-1 at 70–72 (¶¶ 102–07).
                                       46
                                            Id. at 70 (¶ 103), 71–72 (¶ 106).
                                  25   47
                                            Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1 (redacted version) at 75 (¶ 110).
                                  26   48
                                            Willig Decl. – ECF Nos. 446-2 (under seal), 557 (redacted version) at 124–25 (¶¶ 216–17).
                                  27
                                       49
                                         Chipty Reply Decl. – ECF No. 559-1 at 94 (¶ 148). Because the Blue Shield claims data did not
                                       report the total amount of money paid to hospitals in the same way as the Anthem data did and did not
                                  28   contain DRG codes at all — the two components that go into Dr. Chipty’s calculation of case-mix

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                                   1   regression model twice on the Blue Shield-based case-mixed adjusted hospital prices to calculate

                                   2   an “out-of-sample” and an “in-sample” prediction.50 Based on the Blue Shield claims data and her

                                   3   regression model, Dr. Chipty estimated Sutter’s overcharges at its hospitals by year and hospital,

                                   4   as set forth in the chart below.

                                   5

                                   6                                   [Reply Declaration] Exhibit 1751
                                                     Hospital Case-Mix Adjusted Price Overcharge Percentages, Blue Shield
                                   7                                    Baseline Regression 2006-2015
                                                                                               Out-of-Sample                                     In-Sample
                                   8    Hospital            2006     2007   2008     2009     2010      2011    2012     2013    2014      2015  2006-2015
                                        Alta Bates-Main    53% **   44% *  58% **   42% *    40% *     21%     42% *    17%    144% ***   88% *    50% **
                                   9    Alta Bates-Summit 135% ** 127% ** 158% *** 165% *** 172% *** 142% *** 140% *** 126% **  22% **     3%      96% ***
                                        Sutter Sacramento 95% *** 37%      95% *** 114% *** 83% *** 99% *** 84% *** 65% **      39% *     50% **   75% ***
                                        CPMC-Main          25% **   11%    60% *** 44% *** 76% *** 78% *** 69% *** 57% *** 53% **         40% **   50% ***
                                  10    CPMC-St. Luke’s    33%      16%    70% *** 40% **    45% ** 109% *** 31%        30%     44% **    39% *    41% **
                                        Sutter Santa Rosa   1%     -22% ** 21% *     7%      -6%      -15%     -8%       6%     -4% **    -6%      -3%
                                  11    Sutter Modesto     38% *** 57% *** 50% *** 29% **    24% *     26% **  28% **   31% **  19% **    34% **   33% ***

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                                  13         Dr. Chipty has not conducted similar regression analyses on claims data from the health plans

                                  14   Aetna, Health Net, or UnitedHealthcare. She testified at her deposition that she has not offered an

                                  15   overcharge model for class members who bought insurance through those health plans.52 She

                                  16   stated that she had two approaches for addressing those three health plans: (1) if she had access to

                                  17   the same types of data for each health plan, she could run her regression models on each health

                                  18   plan separately, or (2) she could try to extrapolate her findings from some health plans to other

                                  19   health plans.53 She testified, “I have not reached an opinion as to whether I have a preferred

                                  20

                                  21
                                       adjusted hospital prices — Dr. Chipty had to process the Blue Shield data somewhat differently than
                                  22   she processed the Anthem data. Chipty Reply Decl. – ECF Nos. 462-3 (under seal), 559-1 (redacted
                                       version) at 94 (¶ 149).
                                  23   50
                                            Chipty Reply Decl. – ECF No. 559-1 at 95 (¶ 150).
                                  24   51
                                            Chipty Reply Decl. – ECF Nos. 462-3 (under seal), 559-1 (redacted version) at 96 (¶ 151).
                                  25
                                       52
                                         Chipty Dep. – ECF No. 531-4 (under seal) at 64–65 (pp. 666–67) (“Q. Have you offered an
                                       overcharge model for class members who access through Aetna? A. No, I have not. Q. Have you
                                  26   offered an overcharge model for class members who access through United? A. No, I have not.
                                       Q. Have you offered an overcharge model for class members who accessed through Health Net?
                                  27   A. No, I have not.”).
                                       53
                                            Id. at 70–71 (pp. 672–73).
                                  28

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                                   1   method between those two as yet.”54 With respect to the first approach, she stated that she did not

                                   2   fully know whether she had sufficient data from Aetna, Health Net, or UnitedHealthcare to run her

                                   3   regression analyses and would not know until she tried to run the analyses.55 With respect to the

                                   4   second approach, she stated that she has not reached an opinion as to whether it would be

                                   5   reasonable to use extrapolation as an overcharge-damages model.56

                                   6         Sutter noted that Dr. Chipty’s regression model, when applied to Blue Shield claims data,

                                   7   shows an undercharge (as opposed to an overcharge) at one of Sutter’s hospitals in a Tied Market,

                                   8   Sutter Santa Rosa. When asked about it during her deposition, Dr. Chipty stated that this reflects

                                   9   that her regression model has “an inability to measure the overcharge for Sutter-Santa Rosa.”57 Dr.

                                  10

                                  11

                                  12
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                                       54
                                  13      Id. at 71 (p. 673). She began by saying that she would apply her regression-analysis model to Aetna,
                                       Health Net, and UnitedHealthcare but then shifted to saying that she might use extrapolation instead.
                                  14   Id. at 69 (p. 671) (“Q. So is it your opinion, Dr. Chipty, that the methodology for estimating aggregate
                                       overcharge amounts that you use for Anthem and Blue Shield, that’s the methodology that you’re
                                  15   proposing to estimate aggregate damages amounts for Aetna, United and Health Net? A. I would — I
                                       would imagine using the same model to estimate those damages. Except to the point if I were to do —
                                  16   do my continued work on their claims data and their specific circumstances, it’s possible that I reached
                                       the conclusion that it’s reasonable to extrapolate from the experiences of Anthem and Blue Shield, but
                                  17   I haven’t completed my work on that front yet.”).
                                       55
                                          Id. at 71–74 (pp. 673–76) (“Q. And have you reached an opinion on whether you have sufficient
                                  18   data from Aetna, United and Health Net to apply the overcharge methodology that you use for Anthem
                                       and Blue Shield for those health plans? A. Okay. So I may mess this up, in which case I’ll come back
                                  19   and tell you. But I believe for United, we have the data that we need to move forward. By that I mean
                                       we have adequate claims data and adequate premium data. I believe that’s true, but I would have to
                                  20   talk to the team to make sure I’ve got that right. And for Aetna, I believe we’re still waiting on some of
                                       the data. I believe we’re waiting on their premium data. On Health Net, there’s been a large production
                                  21   of data from Health Net. It takes a different form, and I don’t think my team has completed its
                                       assessment of the adequacy as yet of the Health Net data, but we’re working on that. . . . Q. . . . . Your
                                  22   understanding, subject to verification from your staff, is that you and your staff have sufficient data
                                       from United to apply the same overcharge methodology that you used for Anthem and Blue Shield; is
                                  23   that correct? A. That’s correct. That’s my understanding. But I should also add that until we undertake
                                       the exercise, we won’t know fully whether we do or we don’t. We actually — one never knows until
                                  24   one gets deep into a problem. But, yes, my expectation is that we do and that we will look at that.
                                       Q. And then subject to verification with respect to Aetna and Health Net, you and your staff are still
                                  25   examining the data that has been received to determine whether there is sufficient data to use the same
                                       methodology, and you noted that Aetna may not have the premium data to date? A. That’s correct. I
                                  26   think that’s correct.”).
                                       56
                                  27        Id. at 71 (p. 673).
                                       57
                                            Id. at 111 (p. 713).
                                  28

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                                   1   Chipty did not propose an alternative model for estimating the overcharge percentage for Sutter

                                   2   Santa Rosa for Blue Shield class members.58

                                   3         4.2     Assuming Health Plans “Pass On” 100 Percent of Any Sutter Overcharges They
                                                     Have to Pay Through to the Premiums That They Charge Their Customers
                                   4

                                   5         Dr. Chipty’s formula for converting the amount that Sutter allegedly overcharged health plans

                                   6   to the amount that class members were overcharged for their insurance premiums relies on an

                                   7   assumption that health plans “pass on” 100 percent of any Sutter overcharges they have to pay

                                   8   through to the premiums that they charge their customers.59 In other words, her formula assumes

                                   9   that if Sutter charged, say, Anthem $100,000 more than it would have been able to charge in the

                                  10   but-for world, Anthem charged its customers (i.e., class members) $100,000 more in premiums

                                  11   than it would have charged in the but-for world as well.

                                  12         Dr. Chipty stated in her report that health plans may actually pass on less than 100 percent of
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                                  13   hospital overcharges through to increased premiums to their customers. She explained in her

                                  14   report:

                                  15               Basic economic principles indicate that health plans will pass through at least some
                                                   portion of medical cost increases on to their consumers in the form of higher
                                  16               premiums. How much is passed through depends on market conditions. Given
                                                   competitive conditions, a health plan may decide to absorb some portion of a
                                  17
                                                   medical cost increase, by cutting into [its] margins, to remain price competitive
                                  18               with other health plans who do not experience similar cost increases.60

                                  19   As she testified in her deposition, “the different health plans may have different administrative

                                  20   costs, the different health plans may have different medical loss ratios or profit margins that

                                  21   they’re targeting.”61

                                  22         Among other things, Dr. Chipty acknowledges that health plans like Anthem and Blue Shield

                                  23   might decide not to pass on 100 percent of hospital overcharges because of the competitive

                                  24
                                       58
                                  25        Id.
                                       59
                                         See Chipty Decl. – ECF No. 379-1 at 96 (¶ 144) (assuming for the purposes of her formula that the
                                  26   pass-through ratio is equal to one, i.e., 100 percent).
                                       60
                                  27        Id. at 77 (¶ 112).
                                       61
                                            Chipty Dep. – ECF No. 415-1 (under seal) at 113 (p. 386).
                                  28

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                                   1   pressures they face from Kaiser Permanente.62 Kaiser is the largest health system in Northern

                                   2   California (and California generally).63 Kaiser is a “closed” health system consisting of a Kaiser

                                   3   health plan and Kaiser hospitals and other medical providers, where Kaiser health-plan enrollees

                                   4   can receive healthcare only from Kaiser hospitals and medical providers (other than in

                                   5   emergencies).64 Because Kaiser is a closed system that maintains its own network of hospitals,

                                   6   Kaiser’s health plan does not contract with Sutter to include Sutter hospitals within its network

                                   7   and thus is not subject to Sutter’s alleged systemwide contracting with its all-or-nothing, anti-

                                   8   steering, and penalty-rate provisions.65 Kaiser’s health plan competes with health plans like

                                   9   Anthem and Blue Shield in the sale of commercial health insurance to individuals and

                                  10   employers.66 Dr. Chipty stated in her report that “[t]o the extent health plans like Anthem and Blue

                                  11   Shield would absorb cost increases to compete with Kaiser, pass-through may be less than 100

                                  12   percent.”67 She explained in her deposition:
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                                  13              A. . . . . So the way I understand the premiums work is, at least actuarially, they’re
                                                  built to cover health care expenses. And actuarially, if health care expenses go u[p],
                                  14              premiums will go up, but there’s also some room to adjust profit margin. So [my
                                                  report] is recognizing that a health plan might decide to absorb a cost increase to
                                  15
                                                  better compete with Kaiser. . . .
                                  16              Q. Okay. And one way that you’ve described is to — rather than passing through
                                  17              100 percent, is pass through a portion of it and then either lower the profit margin
                                                  or perhaps cut expenses and maintain their profit margin?
                                  18
                                                  A. Perhaps.68
                                  19

                                  20

                                  21

                                  22
                                       62
                                            Chipty Decl. – ECF No. 379-1 at 77 (¶ 112).
                                  23   63
                                            Id. at 5 (¶ 4), 18 (¶ 16).
                                  24   64
                                            Id. at 18 (¶ 16).
                                  25
                                       65
                                         See id. (¶ 17) (“[N]o patient would have both Kaiser and Sutter hospitals in his or her provider
                                       network.”).
                                  26   66
                                            Id. at 19 (¶ 17); Chipty Dep. – ECF No. 415-1 (under seal) at 129 (p. 450).
                                  27
                                       67
                                            Chipty Decl. – ECF No. 379-1 at 77 (¶ 112).
                                       68
                                            Chipty Dep. – ECF No. 415-1 (under seal) at 134 (pp. 472–73).
                                  28

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                                   1         Sutter agrees and submits evidence (unrebutted by the plaintiffs) that supports Dr. Chipty’s

                                   2   assessment that health plans might decide to not pass on their costs (including hospital costs)

                                   3   through to the premiums they charge their customers, in order to remain competitive vis-à-vis rival

                                   4   health plans. To take one example, in 2011,             was discussing insurance rates for 2012 for

                                   5   one of its customers, Woodruff Sayer, and originally proposed

                                   6               .69 Woodruff Sayer responded that

                                   7                                                                   .70 In response,

                                   8
                                                                                                                            71
                                   9                                                                                             To take

                                  10   another example, in 2014, Blue Shield was discussing insurance rates for 2015 for one of its

                                  11   customers, the City and County of San Francisco.72 Blue Shield acknowledged that it was in a

                                  12   “difficult position” given that competitor health plans Kaiser and UnitedHealthcare had both
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                                  13   proposed rate decreases.73 In response, Blue Shield offered the City a “rate pass” (a 0 percent

                                  14   increase in premium rates) for 2015.74

                                  15         Dr. Chipty’s damages-calculation formula nonetheless assumes that the rate at which health

                                  16   plans pass on Sutter’s alleged overcharges through to their customers’ premiums will be 100

                                  17   percent.75 Dr. Chipty stated that one of the things she relies on to assume that (1) health plans pass

                                  18   on 100 percent of any Sutter overcharges and (2) the passthrough rate is the same across all health

                                  19   plans and class members, is a slide from a PowerPoint presentation drafted by Sutter’s former

                                  20

                                  21

                                  22
                                       69
                                              email chain – ECF Nos. 415-3 (under seal), 445-6 (redacted version) at 10
                                  23   (WSAW003956).
                                       70
                                  24        Id. at 6 (WSAW003952).
                                       71
                                            Id. at 5 (WSAW003951).
                                  25   72
                                            Blue Shield email chain – ECF No. 445-10 at 274–75 (AON0009800–01).
                                  26   73
                                            Id. at 274 (AON0009800).
                                       74
                                  27        Id.
                                       75
                                            Chipty Decl. – ECF No. 379-1 at 96 (¶ 144).
                                  28

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                                   1   CFO Bob Reed.76

                                   2
                                                                                                                                77
                                   3                                                                                                 The

                                   4   presentation discussed a hypothetical scenario where Sutter reduced its prices by                    and

                                   5   then examined how that might cause health plans to reduce their premiums

                                   6              , assuming the health plans passed on 100 percent of Sutter’s price reductions to their

                                   7   customers.78

                                   8

                                   9

                                  10
                                                                                79
                                  11                                                 Dr. Chipty also cited other documents and analyses that she

                                  12   said indicates that health plans try to set premiums at a level that covers all their expenses and that
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                                  13   when their costs increase, their premiums do as well.80

                                  14         Dr. Chipty also conducted a regression analysis that she claims supports her formula’s

                                  15   assumption that health plans pass on 100 percent of alleged overcharges through to their

                                  16   customers. For her regression, Dr. Chipty used health plans’ PMPM health-care costs and

                                  17   premiums between 2012 and 2015 for small-group-employer insurance buyers, as disclosed by the

                                  18   plans in their annual Uniform Rate Review Template filings.81 (She did not include data from

                                  19

                                  20

                                  21
                                       76
                                         Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1 (redacted) at 79–81 (¶¶ 118–19); Chipty Reply
                                       Decl. – ECF No. 559-1 at 55 (¶ 80); Chipty Dep. – ECF No. 415-1 (under seal) at 115 (pp. 395–97),
                                  22   131 (p. 459).
                                       77
                                          Sutter Strategy Session PowerPoint Presentation – ECF Nos. 349 at 130 (under seal), 379-4 at 131
                                  23   (redacted version) (DEF001993774).
                                       78
                                  24        Id.
                                       79
                                            Id.
                                  25

                                  26
                                  27
                                       80
                                            Chipty Decl. – ECF Nos. 348-3 (under seal), 379-1 (redacted version) at 77–82 (¶¶ 114–22).
                                       81
                                            Chipty Decl. – ECF No. 379-1 at 83 (¶ 123).
                                  28

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                                   1   individual or large-group-employer buyers.82) In her analysis, her dependent variable was the

                                   2   natural logarithm of PMPM premium in a given year, and her sole explanatory variable was the

                                   3   natural logarithm of PMPM cost in that year.83 She acknowledged that this was “a very simple

                                   4   regression model.”84 Her regression analysis calculated an estimated passthrough coefficient for

                                   5   small-group-employer insurance of approximately 0.9 (where a coefficient of 1 indicates 100-

                                   6   percent passthrough85), as set forth in the chart below.

                                   7

                                   8                                      [Opening Declaration] Exhibit 1786
                                                                       Pass-Through Analysis for Small Groups
                                   9                                    Dependent Variable = Log ($ Premium)
                                  10                                      Explanatory Variable              Estimates
                                                                          Log(Cost)                          0.914***
                                  11                                                                         (0.0874)
                                  12                                      Includes Health Plan               Yes
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                                                                          Fixed Effects
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                                  13                                      Observations                       41
                                                                          R-squared                          0.965
                                  14
                                                                 Notes:
                                  15                             1. Standard errors shown in parentheses below coefficient estimate.
                                                                 The estimate is statistically significant at 1 percent significance level.
                                  16                             2. Coefficient estimated using ordinary least squares.

                                  17         In response to criticisms by Sutter’s expert Dr. Willig that Dr. Chipty’s analysis did not
                                  18   examine whether passthrough rates vary across different health plans, across health-plan business
                                  19   lines (individual buyers versus small-group employer buyers versus large-group employer buyers),
                                  20   or across different health-insurance products, or whether passthrough rates vary based on how
                                  21   much competition a health plan faces (including competition from Kaiser),87 Dr. Chipty ran
                                  22   additional regression analyses, as set forth in the charts below.
                                  23

                                  24
                                       82
                                         Id.; Chipty Dep. – ECF No. 415-1 at 116 (p. 399) (“[R]emember this is just for small group. It’s
                                       exactly how Exhibit 17 is laid out.”).
                                  25   83
                                            Chipty Decl. – ECF No. 379-1 at 83 (¶ 125).
                                  26
                                       84
                                            Chipty Dep. – ECF No. 415-1 at 114 (p. 391).
                                       85
                                            Chipty Decl. – ECF No. 379-1 at 83 (¶ 125).
                                  27   86
                                            Id. at 84 (¶ 125).
                                  28   87
                                            Willig Decl. – ECF No. 557 at 46 (¶ 67), 59–60 (¶ 98).

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                                   1                                                 [Reply Declaration] Exhibit 788
                                                                            Dr. Willig’s Table 1, Showing More Information
                                   2
                                                  Descriptions                         Aetna           Blue Cross                  Blue Shield           Health Net                      UHC
                                   3                Coefficient                         0.302                      ***              1.042***               1.054***                            ***
                                   4             Standard Error                        (0.228)             (0.233)                   (0.091)                    (0.164)                  (0.216)
                                                       95% CI                  -0.164, 0.768                                       0.857, 1.227         0.719, 1.389
                                   5
                                                    R-squared                                                                         0.976
                                   6    Plan/Year Observation                            9                     8                         7                        8                        9
                                       Notes:
                                   7   1. Asterisks *** indicates statistical significance at the one percent level.
                                       2. The data upon which the model relies are aggregated at the year-level for each health plan.
                                   8

                                   9                                        [Reply Declaration] Exhibit 889
                                                          Summary of Evidence Indicating Pass-Through Is at or Near 100 Percent
                                  10
                                                                                          Product                                      Kaiser                          95 Percent
                                            Health Plan    Source    Costs Included       Included   Line-of-Business Included       Non-Kaiser    Coefficient     Confidence Interval    Observations
                                  11            [1]          [2]           [3]               [4]                [5]                     [6]           [7]                  [8]                [9]

                                              Aetna
                                  12        Blue Cross
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                                            Blue Shield     [1]     All Medical Costs        All            Small Group               Combined      0 914***          0 748, 1 079             41
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                                            Health Net
                                               UHC
                                  13
                                              Aetna                                                                                                   0 302           -0 164, 0 768            9
                                            Blue Cross                                                                                                    ***                                  8
                                  14        Blue Shield
                                            Health Net
                                                            [1]     All Medical Costs        All            Small Group               Combined      1 042***
                                                                                                                                                    1 054***
                                                                                                                                                                      0 857, 1 227
                                                                                                                                                                      0 719, 1 389
                                                                                                                                                                                               7
                                                                                                                                                                                               8
                                               UHC                                                                                                        ***                                  9
                                  15        Blue Shield     [2]     All Medical Costs        All            Large Group               Combined      0 954***          0 800, 1 109             9
                                                                                                           Large Group:
                                            Blue Shield     [2]     All Medical Costs        All                                      Combined      0 993***          0 816, 1 171             9
                                                                                                      101 ≤ Insured Employees
                                  16
                                                                                                             Large Group:
                                            Blue Shield     [2]     All Medical Costs        All                                      Combined      0 898***          0 723, 1 073             9
                                                                                                     100 - 500 Insured Employees
                                  17        Blue Shield     [2]     All Medical Costs        All
                                                                                                           Large Group:
                                                                                                                                      Combined      0 988***          0 810, 1 165             9
                                                                                                      501 ≤ Insured Employees

                                  18        Blue Shield     [2]     All Medical Costs        All
                                                                                                            Large Group:
                                                                                                      2,000+ Insured Employees
                                                                                                                                      Combined      1 002***          0 771, 1 233             9

                                              Anthem        [3]      Inpatient Spend         All             Individual               Combined           ***                                   10
                                  19          Anthem        [3]      Inpatient Spend         All            Large Group               Combined           ***                                   10
                                              Anthem        [3]      Inpatient Spend         All            Large Group               Non-Kaiser         ***                                   10
                                  20          Anthem        [3]      Inpatient Spend         All            Large Group                 Kaiser           ***                                   10
                                                                                                                                      Non-Kaiser         ***
                                              Anthem        [3]      Inpatient Spend         All            Large Group                                                                        20
                                  21                                                                                                    Kaiser           ***
                                              Anthem        [3]      Inpatient Spend         All             Individual               Non-Kaiser         ***                                   10
                                              Anthem        [3]      Inpatient Spend         All             Individual                 Kaiser           ***                                   10
                                  22
                                                                                                                                      Non-Kaiser         ***
                                              Anthem        [3]      Inpatient Spend         All             Individual                                                                        20
                                                                                                                                        Kaiser           ***
                                  23          Anthem        [3]      Inpatient Spend         PPO            Large Group               Combined           ***                                   10
                                              Anthem        [3]      Inpatient Spend         HMO            Large Group               Combined           ***                                   10
                                  24
                                       Note: Asterisks *** indicates statistical significance at the one percent level.
                                  25

                                  26   88
                                            Chipty Reply Decl. – ECF Nos. 462-3 (under seal), 559-1 (redacted version) at 49 (¶ 69).
                                  27
                                       89
                                         Id. at 51–52 (¶ 76) (“Exhibit 8 summarizes pass-through analyses separately for Anthem and Blue
                                       Shield data, by health plan, by line-of-business, by Kaiser’s presence, and by product. Column [1]
                                  28   identifies the health plan whose data was analyzed. Column [4] identifies the product (e.g., all, HMO,

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                                   1         Dr. Chipty maintains that these analyses support her decision to assume a uniform 100-

                                   2   percent-passthrough rate across all health plans, health products, and class members in her

                                   3   damages calculations. She stated that the health-plan-by-health-plan analysis (Exhibit 7, above),

                                   4   which calculated passthrough coefficients of 0.32,           , 1.042, 1.054, and      for the five

                                   5   health plans at issue in this case, “supports the view, using Dr. Willig’s own results, that pass-

                                   6   through rates for four of the five health plans are similar to each other and equal to 100 percent”90

                                   7   and that the fifth health plan’s coefficient rate — “0.3 (or a 30 percent pass-through rate)” — is

                                   8   “not statistically different from a pass-through rate as high as 77 percent.”91 She similarly said that

                                   9   her analyses disaggregating health plans, business lines, and products (Exhibit 8, above), which

                                  10   generated coefficients ranging from 0.302 to            , support her using a uniform 100-percent-

                                  11   passthrough rate in her damages calculations.92 She acknowledged that for many of her analyses,

                                  12   the upper bound of the 95-percent confidence interval around the passthrough-rate estimate93 fell
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                                  13   below 1 (i.e., below a 100-percent-passthrough rate) interval.94 She nonetheless maintains that

                                  14

                                  15
                                       PPO) considered. Column [5] identifies the line-of-business (e.g., individual, small group, and large
                                  16   group). Column [6] identifies whether pass-through rates in Kaiser and non-Kaiser areas were
                                       estimated separately or jointly. Column [7] shows the estimated pass-through coefficient. Column [8]
                                  17   describes the 95 percent confidence interval of the estimated passthrough rates, and Column [9] shows
                                       the regression observations, where each observation reflects the premium and claims experience of
                                  18   many. The first row shows results of the model presented in my Class Declaration. The second row
                                       shows the results of Dr. Willig’s model. Statistically, the estimated pass-through rates are at or near
                                  19   100 percent, for virtually all models. The lowest estimated pass-through rate comes from Dr. Willig’s
                                       small group analysis, for Aetna.”).
                                  20   90
                                            Chipty Reply Decl. – ECF No. 559-1 at 48 (¶ 69).
                                       91
                                  21        Id. at 46 (¶ 66).
                                       92
                                            Chipty Reply Decl. – ECF Nos. 462-3 (under seal), 559-1 (redacted) at 50–54 (¶¶ 72–78).
                                  22   93
                                         Dr. Chipty explains that “a ‘confidence interval’ provides a range of values within which the true
                                  23   population value is likely to lie.” Chipty Decl. – ECF No. 379-1 at 62 (¶ 94). “A 95 percent two-sided
                                       confidence interval is an interval around the sample estimate, constructed based on the standard error,
                                  24   that would contain the true population value 95 percent of the time if the sampling procedure were to
                                       be repeated infinitely.” Id. at 62 n.191 (¶ 94 n.191).
                                  25   94
                                         Chipty Reply Decl. – ECF Nos. 462-3 (under seal), 559-1 (redacted version) at 50–51 nn.167–69
                                       (¶¶ 72 n.167, 74 n.168–69) (noting that in row 8 of Exhibit 8, the upper bound of the 95-percent
                                  26   confidence interval around the passthrough estimate is 0.9; in row 10, the upper bound of the 95-
                                       percent confidence interval around the passthrough estimate is 0.87; in row 13, the upper bound of the
                                  27   95-percent confidence interval around the passthrough estimate is 0.95; and in row 14, the upper
                                       bound of the 95-percent confidence interval around the passthrough estimate is 0.92).
                                  28

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                                   1   these results are “near one [100 percent]” or “close to one [100 percent].”95 She does not cite any

                                   2   sources to explain what being “near” or “close to” 1 means or how that supports her decision to

                                   3   assume a passthrough rate of 100 percent.96

                                   4         Dr. Chipty acknowledged in her deposition that she has never conducted in any other contexts

                                   5   the passthrough regression analyses she is running here.97 She has not studied passthrough rates in

                                   6   the context of medical premiums and has never offered an expert opinion on passthrough rates

                                   7   outside of the context of this case.98

                                   8

                                   9                                                 ANALYSIS

                                  10         Class actions are governed by Federal Rule of Civil Procedure 23. A party seeking to certify a

                                  11   class must prove that all the prerequisites of Rule 23(a) are met, as well as those of at least one

                                  12   subsection of Rule 23(b) (the relevant subsections here are (b)(2) and (b)(3)).
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                                  13         The following are the prerequisites of Rule 23(a):

                                  14             1. the class is so numerous that joinder of all members is impracticable;

                                  15             2. there are questions of law or fact common to the class;

                                  16             3. the claims or defenses of the representative parties are typical of the claims or defenses

                                  17                 of the class; and

                                  18             4. the representative parties will fairly and adequately protect the interests of the class.

                                  19         A court may certify a class under Rule 23(b)(3) if “the court finds that the questions of law or

                                  20   fact common to class members predominate over any questions affecting only individual

                                  21
                                       95
                                  22        Id. at 50–51 (¶¶ 72, 74).
                                       96
                                          Dr. Chipty describes some of her results as being “not statistically different from one.” Chipty Reply
                                  23   Decl. – ECF No. 559-1 at 50 (¶¶ 72, 74). She explains what she means when she says results are “not
                                       statistically different from one”: that a value of 1 (a 100-percent-passthrough rate) is within the 95-
                                  24   percent confidence interval. See Chipty Decl. – ECF No. 379-1 at 62 (¶ 94). She does not explain what
                                       a result’s being “near one” or “close to one” means. It necessarily must mean that it is “statistically
                                  25   different” from 1 (a 100-percent-passthrough rate), given that 1 falls above the 95-percent confidence
                                       interval.
                                  26   97
                                            Chipty Dep. – ECF No. 415-1 (under seal) at 110 (pp. 376–77).
                                  27   98
                                          Id. at 110–11 (pp. 377–80). In addition to Dr. Chipty, the plaintiffs proffered another expert, David
                                       Axene, but Mr. Axene did not conduct any analysis to calculate passthrough rates of hospital charges
                                  28   to health-plan premiums. Axene Dep. – ECF No. 415-1 (under seal) at 20 (pp. 68–69), 29 (p. 105).

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                                   1   members, and that a class action is superior to other available methods for fairly and efficiently

                                   2   adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). A court may certify a class under Rule

                                   3   23(b)(2) for injunctive or declaratory relief (i.e., not for money damages) if “the party opposing

                                   4   the class has acted or refused to act on grounds that apply generally to the class, so that final

                                   5   injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

                                   6   whole[.]” Fed. R. Civ. P. 23(b)(2).

                                   7       “[P]laintiffs wishing to proceed through a class action must actually prove — not simply plead

                                   8   — that their proposed class satisfies each requirement of Rule 23, including (if applicable) the

                                   9   predominance requirement of Rule 23(b)(3).” Halliburton Co. v. Erica P. John Fund, Inc., 573

                                  10   U.S. 258, 275 (2014) (emphasis in original) (citing Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338,

                                  11   350–51 (2011); Comcast Corp. v. Behrend, 569 U.S. 27, 32–33 (2013)). “[C]ertification is proper

                                  12   only if ‘the trial court is satisfied, after a rigorous analysis, that the prerequisites of Rule 23[] have
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                                  13   been satisfied.’” Comcast, 569 U.S. at 33 (quoting Wal-Mart, 564 U.S. at 350–51). “Such an

                                  14   analysis will frequently entail ‘overlap with the merits of the plaintiff’s underlying claim.’” Id. at

                                  15   33–34 (quoting Wal-Mart, 564 U.S. at 351). “That is so because the ‘class determination generally

                                  16   involves considerations that are enmeshed in the factual and legal issues comprising the plaintiff’s

                                  17   cause of action.’” Id. at 34 (quoting Wal-Mart, 564 U.S. at 351). Still, “Rule 23 grants courts no

                                  18   license to engage in free-ranging merits inquiries at the certification stage.” Amgen Inc. v. Conn.

                                  19   Ret. Plans and Tr. Funds, 568 U.S. 455, 466 (2013). “Merits questions may be considered to the

                                  20   extent — but only to the extent — that they are relevant to determining whether the Rule 23

                                  21   prerequisites for class certification are satisfied.” Id. (citing Wal-Mart, 564 U.S. at 351 n.6).

                                  22

                                  23   1. Rule 23(a) Prerequisites

                                  24       1.1   Numerosity — Rule 23(a)(1)

                                  25       Rule 23(a)(1) requires that “the class [be] so numerous that joinder of all members is

                                  26   impracticable.” There is no absolute minimum class size for establishing numerosity, but courts

                                  27   have held that classes as small as 40 satisfy the numerosity requirement. See, e.g., In re Qualcomm

                                  28   Antitrust Litig., 328 F.R.D. 280, 294 (N.D. Cal. 2018) (citing Twegbe v. Pharmaca Integrative

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                                   1   Pharmacy, Inc., No. CV 12-5080 CRB, 2013 WL 3802807, at *3 (N.D. Cal. July 17, 2013)),

                                   2   appeal docketed sub nom. Stromberg v. Qualcomm Inc., No. 18-80135 (9th Cir. filed Oct. 11,

                                   3   2018); In re Lidoderm Antitrust Litig., No. 14-md-02521-WHO, 2017 WL 679367, at *13 (N.D.

                                   4   Cal. Feb. 21, 2017) (citing Daniel R. Coquillette et al., 5 Moore’s Federal Practice – Civil § 23.22

                                   5   (2016)). The plaintiffs reasonably estimate that the proposed class contains at least hundreds of

                                   6   thousands of members.99 Sutter does not dispute numerosity.100 The court finds that the plaintiffs

                                   7   have satisfied Rule 23(a)(1)’s numerosity requirement.

                                   8         1.2   Commonality — Rule 23(a)(2)

                                   9         Rule 23(a)(2) requires that “there [be] questions of law or fact common to the class.” “What

                                  10   matters to class certification is not the raising of common ‘questions’ — even in droves — but,

                                  11   rather the capacity of a classwide proceeding to generate common answers apt to drive the

                                  12   resolution of the litigation.” Torres v. Mercer Canyons Inc., 835 F.3d 1125, 1133 (9th Cir. 2016)
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                                  13   (internal ellipsis and some internal quotation marks omitted) (quoting Wal-Mart, 564 U.S. at 350).

                                  14   “To satisfy Rule 23(a)(2) commonality, ‘even a single common question will do.’” Id. (some

                                  15   internal quotation marks omitted) (quoting Wal-Mart, 564 U.S. at 359). Courts have held that

                                  16   “‘antitrust liability alone constitutes a common question.’” In re Qualcomm, 328 F.R.D. at 294

                                  17   (internal brackets omitted) (quoting In re High-Tech Emp. Antitrust Litig., 985 F. Supp. 2d 1167,

                                  18   1180 (N.D. Cal. 2013)); accord, e.g., In re Lithium Ion Batteries Antitrust Litig., No. 13-MD-2420

                                  19   YGR, 2017 WL 1391491, at *3 (N.D. Cal. Apr. 12, 2017) (In re Lithium Ion Batteries I) (“‘[T]he

                                  20   very nature of a conspiracy antitrust action compels a finding that common questions of law and

                                  21   fact exist.’”) (quoting In re Dynamic Random Access Memory (DRAM) Antitrust Litig., No. M 02-

                                  22   1486 PJH, 2006 WL 1530166, at *3 (N.D. Cal. June 5, 2006)). The plaintiffs have raised common

                                  23   questions about whether Sutter’s systemwide contracting with its all-or-nothing, anti-steering, and

                                  24   penalty-rate provisions is anticompetitive that would generate common answers apt to drive

                                  25

                                  26    Chipty Decl. – ECF No. 379-1 at 31 (¶ 30) (“[T]here could be between 430,000 and 680,000 Class
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                                       Members in any given year.”).
                                  27     See Def. MCC Opp’n – ECF No. 445 at 9, 30–31 (disputing whether the plaintiffs have satisfied
                                       100

                                       Rule 23(a)’s typicality and adequacy requirements but not numerosity or commonality).
                                  28

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                                   1   resolution of the litigation. Sutter does not dispute commonality.101 The court finds that the

                                   2   plaintiffs have satisfied Rule 23(a)(2)’s commonality requirement.

                                   3         1.3   Typicality — Rule 23(a)(3)

                                   4         Rule 23(a)(3) requires that “the claims or defenses of the representative parties [be] typical of

                                   5   the claims or defenses of the class.” “The test of typicality serves to ensure that ‘the interest of the

                                   6   named representative aligns with the interests of the class.’” Torres, 835 F.3d at 1141 (quoting

                                   7   Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992)). “‘Under the Rule’s permissive

                                   8   standards, representative claims are ‘typical’ if they are reasonably coextensive with those of

                                   9   absent class members; they need not be substantially identical.’” Id. (quoting Parsons v. Ryan, 754

                                  10   F.3d 657, 685 (9th Cir. 2014)). “In this context, ‘typicality refers to the nature of the claim or

                                  11   defense and not to the specific facts from which it arose or the relief sought.’” Id. (internal ellipsis

                                  12   omitted) (quoting Parsons, 754 F.3d at 685). “Measures of typicality include ‘whether other
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                                  13   members have the same or similar injury, whether the action is based on conduct which is not

                                  14   unique to the named plaintiffs, and whether other class members have been injured by the same

                                  15   course of conduct.’” Id. (quoting Hanon, 976 F.2d at 508). Put another way, “[t]ypicality is

                                  16   present ‘when each class member’s claim arises from the same course of events, and each class

                                  17   member makes similar legal arguments to prove the defendants’ liability.’” In re Qualcomm, 328

                                  18   F.R.D. at 295 (quoting Rodriguez v. Hayes, 591 F.3d 1105, 1122 (9th Cir. 2010)). “Thus, ‘in

                                  19   antitrust cases, typicality usually will be established by plaintiffs and all class members alleging

                                  20   the same antitrust violations by defendants.’” Id. (internal brackets and some internal quotation

                                  21   marks omitted) (quoting In re High-Tech Emp., 985 F. Supp. 2d at 1181).

                                  22         The named plaintiffs’ claims are typical of the class’s claims. The conduct they challenge —

                                  23   Sutter’s systemwide contracting with its all-or-nothing, anti-steering, and penalty-rate provisions

                                  24   — is not unique to any plaintiff. Rather, Sutter engaged in this same conduct with the five health

                                  25   plans at issue and allegedly charged all five health plans supra-competitive rates as a result, which

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                                  27
                                         See Def. MCC Opp’n – ECF No. 445 at 9, 30–31 (disputing whether the plaintiffs have satisfied
                                       101

                                  28   Rule 23(a)’s typicality and adequacy requirements but not numerosity or commonality).

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                                   1   the health plans then allegedly passed on to their customers (the class members). The alleged

                                   2   injuries to the named plaintiffs and to the class arise from the same course of conduct.

                                   3         Sutter argues that the named plaintiffs’ claims are not typical because the named plaintiffs are

                                   4   two small employers and four individuals (two of whom worked for the same employer) and do

                                   5   not include any large-group employers or any persons who bought an individual health-insurance

                                   6   policy.102 Sutter argues that the plaintiffs do not have any personal stake or interest in establishing

                                   7   that health plans passed on supra-competitive hospital costs through to large-group employers

                                   8   despite the presence of individually negotiated premiums.103 But under Rule 23’s permissive

                                   9   standards, the plaintiffs’ claims need only be “reasonably coextensive” with absent class

                                  10   members’ claims; they need not be substantively identical. Torres, 835 F.3d at 1141. The

                                  11   overarching gravamen of the plaintiffs’ claims is Sutter’s alleged anticompetitive tying activity.

                                  12   While differences in how health plans may have passed on Sutter’s alleged overcharges through to
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                                  13   their customers may go to Rule 23(b)(3)’s predominance requirement, it is not sufficient to defeat

                                  14   typicality. Cf. In re Lithium Ion Batteries I, 2017 WL 1391491, at *7–8 (rejecting argument that

                                  15   claims of individuals who bought battery products at non-negotiable prices were atypical of claims

                                  16   of large institutional buyers who bought products in bulk and could negotiate prices because “the

                                  17   overarching [antitrust] price-fixing scheme is the gravamen of the claim, regardless of the type of

                                  18   product purchased, the quantity, the purchasing procedures, or the price paid”) (citing In re Static

                                  19   Random Access Memory (SRAM) Antitrust Litig., 264 F.R.D. 603, 609 (N.D. Cal. 2009)); In re

                                  20   Online DVD Antitrust Litig., No. M 09-2029 PJH, 2010 WL 5396064, at *4 (N.D. Cal. Dec. 23,

                                  21   2010) (In re Online DVD I) (“The named plaintiffs’ claims are typical of the class because for all

                                  22   claims, proof of the alleged violations in question will depend on proof of violation by defendants,

                                  23   and not on the individual positioning of each plaintiff.”) (emphasis in original).104

                                  24

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                                       102
                                          Def. MCC Opp’n – ECF No. 445 at 31. Sutter also argues that the plaintiffs and class members
                                       have conflicts of interest, id. at 30–31, which the court will address in the next section in connection
                                  26   with Rule 23’s adequacy requirement.
                                       103
                                             Id. at 31.
                                  27   104
                                          It is worth noting that the “individually negotiated premiums” that Sutter discusses in its opposition
                                  28   refers to large-group employers’ negotiations with health plans, not with Sutter. Sutter does not

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                                   1         The court finds that the plaintiffs have satisfied Rule 23(a)(3)’s typicality requirement.105

                                   2         1.4   Adequacy — Rule 23(a)(4)

                                   3         Rule 23(a)(4) requires that “the representative parties [] fairly and adequately protect the

                                   4   interests of the class.” “This adequacy requirement . . . ‘serves to uncover conflicts of interest

                                   5   between named parties and the class they seek to represent’ as well as the ‘competency and

                                   6   conflicts of class counsel.’” Espinosa v. Ahearn (In re Hyundai and Kia Fuel Econ. Litig.), 926

                                   7   F.3d 539, 566 (9th Cir. 2019) (en banc) (quoting Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

                                   8   625, 626 n.20 (1997)). “To determine legal adequacy, [courts] resolve two questions: ‘(1) do the

                                   9   named plaintiffs and their counsel have any conflicts of interest with other class members and

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                                  11

                                  12   contend that large-group employers had any more ability to negotiate with Sutter over prices or
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                                       premiums than individuals or small-group employers did. The fact that large-group employers might
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                                  13   have engaged in negotiations with health plans does not render plaintiffs’ claims — which are against
                                       Sutter, not the health plans — atypical of the claims of the class as a whole. Cf. In re Optical Disk
                                  14   Drive Antitrust Litig., 303 F.R.D. 311, 317–18 (N.D. Cal. 2014) (in price-fixing antitrust case, finding
                                       that typicality was not satisfied based on differences between large institutional class members and
                                  15   small class members where the large institutional class members engaged in direct price negotiations
                                       with the defendants — i.e., the parties that were actually doing the price-fixing — and small class
                                  16   members did not) (citing In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478, 489–90
                                       (N.D. Cal. 2008)).
                                  17   105
                                           Sutter cites Burkhead v. Louisville Gas & Electric Co., 250 F.R.D. 287 (W.D. Ky. 2008), and
                                       Major v. Ocean Spray Cranberries, Inc., No. 5:12-CV-03067 EJD, 2013 WL 2558125 (N.D. Cal. June
                                  18   10, 2013), to argue that the named plaintiffs’ claims are not typical of the class’s. Def. MCC Opp’n –
                                       ECF No. 445 at 31. Neither case is apposite here. Burkhead was a class action brought against an
                                  19   allegedly polluting power plant where the named plaintiffs were a “geographically concentrated group
                                       living relatively close to Defendant’s plant.” Burkhead, 250 F.R.D. at 300. The plaintiffs sought to
                                  20   represent a class of residents in a two-mile radius of the plant but offered no evidence that the plant
                                       spread any pollution elsewhere within that radius. Id. at 292–93 & n.3. In light of the plaintiffs’
                                  21   geographic concentration and their lack of evidence that other areas were affected, the court held that
                                       their claims were not typical. Id. at 295–96. The court contrasted that situation from a situation where
                                  22   “the harm suffered by the named plaintiffs may differ in degree from that suffered by other members
                                       of the class so long as the harm suffered is of the same type,” which would support a finding of
                                  23   typicality. Id. at 295 (emphasis in original, citation omitted). Major was a class action brought against
                                       a food manufacturer where the named plaintiff alleged misleading product labeling. Major, 2013 WL
                                  24   2558125, at *1. The plaintiff bought allegedly mislabeled fruit drinks but sought to represent classes of
                                       persons who bought the defendant’s products more broadly. Id. at *2. The court held that the plaintiff
                                  25   “fail[ed] to link any of those products to any alleged misbranding issue[.]” Id. at *4. For example, the
                                       plaintiff alleged that a blueberry drink she purchased made misleading claims specifically about
                                  26   blueberries, which the court held was not typical of claims related to other products that did not
                                       contain blueberries. Id. (“[T]he content that purportedly gives rise to Plaintiffs claims is unique to the
                                  27   specific and particular product she purchased and has no applicability to other products within the
                                       same line.”). Neither of those cases is analogous to the case here.
                                  28

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                                   1   (2) will the named plaintiffs and their counsel prosecute the action vigorously on behalf of the

                                   2   class?’” Id. (quoting Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998)).

                                   3             1.4.1   Prosecuting the action vigorously on behalf of the class

                                   4         Taking the second issue first, the plaintiffs and their counsel maintain that they will prosecute

                                   5   this case vigorously on behalf of the class. The named plaintiffs have actively participated in this

                                   6   case, cooperated in discovery, made themselves available for and sat for depositions, and followed

                                   7   case developments.106 All are willing to prosecute the action vigorously and to sit for trial.107 They

                                   8   have retained class counsel with experience in litigating antitrust class actions.108 Sutter does not

                                   9   dispute that the named plaintiffs and their counsel will prosecute this case vigorously on behalf of

                                  10   the class.109

                                  11         The court finds that the plaintiffs have satisfied this component of Rule 23(a)(4)’s adequacy

                                  12   requirement.
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                                  13             1.4.2   Conflicts of interest

                                  14         The Ninth Circuit has cautioned that “we do not ‘favor denial of class certification on the basis

                                  15   of speculative conflicts.’” Resnick v. Frank (In re Online DVD-Rental Antitrust Litig.), 779 F.3d

                                  16   934, 942 (9th Cir. 2015) (In re Online DVD II) (quoting Cummings v. Connell, 316 F.3d 886, 896

                                  17   (9th Cir. 2003)). “Nor does a district court abuse its discretion [in certifying a class] when

                                  18   conflicts are trivial.” Id. (citing Abbott v. Lockheed Martin Corp., 725 F.3d 803, 813 (7th Cir.

                                  19   2013)). “‘Only conflicts that are fundamental to the suit and that go to the heart of the litigation

                                  20   prevent a plaintiff from meeting the Rule 23(a)(4) adequacy requirement.’” Id. (quoting William

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                                  22
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                                          MacAusland Decl. – ECF No. 356-16; Feeney Decl. – ECF No. 356-17; Hansen Decl. – ECF No.
                                       356-18; Herman Decl. – ECF No. 356-19; Stewart Decl. – ECF No. 356-20; Jankowski Decl. – ECF
                                  23   No. 356-21; Sidibe Decl. – ECF No. 356-22; see, e.g., Feeney Dep. – ECF No. 558 at 3–33 (co-owner
                                       of named employer plaintiff sitting for deposition); Herman Dep. – ECF No. 445-6 at 195–221 (named
                                  24   individual plaintiff sitting for deposition).
                                         MacAusland Decl. – ECF No. 356-16; Feeney Decl. – ECF No. 356-17; Hansen Decl. – ECF No.
                                       107

                                  25   356-18; Herman Decl. – ECF No. 356-19; Stewart Decl. – ECF No. 356-20; Jankowski Decl. – ECF
                                       No. 356-21; Sidibe Decl. – ECF No. 356-22.
                                  26   108
                                             See Counsel Biographies – ECF No. 362-3.
                                  27   109
                                          See Def. MCC Opp’n – ECF No. 445 at 9, 30–31 (disputing whether the plaintiffs have satisfied
                                       Rule 23(a)(4)’s adequacy requirements in light of purported conflicts but not disputing the plaintiffs’
                                  28   or counsel’s prosecution of this case).

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                                   1   B. Rubenstein et al., 1 Newberg on Class Actions § 3.58 (5th ed. 2011)). “A conflict is

                                   2   fundamental when it goes to the specific issues in controversy.” Id. (quoting Newberg on Class

                                   3   Actions § 3.58).

                                   4         Sutter argues that there are two conflicts of interest that prevent class certification. Neither

                                   5   purported conflict goes to the heart of the litigation so as to render the plaintiffs inadequate to

                                   6   pursue their class claims.

                                   7         First, Sutter argues that employers and employees have conflicts, because employers have an

                                   8   incentive to argue that they bore the entire brunt of any premium increase and did not pass any of

                                   9   it along to their employees, while employees have an incentive to argue that the entire alleged

                                  10   increase was passed on to them.110 This is not a conflict that goes to the heart of the litigation.

                                  11   Employers and employees do not have a conflict regarding the central issues at controversy in this

                                  12   case, namely, whether Sutter overcharged health plans for its hospital services, whether health
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                                  13   plans passed on those overcharges through to the premiums that they charged their customers,

                                  14   whether they as the health plans’ customers paid more in premiums than they otherwise would

                                  15   have but for Sutter’s anticompetitive conduct, and whether Sutter should pay damages to make

                                  16   them whole. Only if the class collectively were to establish that Sutter is liable and should pay

                                  17   damages would any purported conflicts arise between employers and employees regarding how

                                  18   those damages should be allocated. This is not a conflict that is so fundamental to the suit or goes

                                  19   so much to the heart of the litigation as to render the plaintiffs inadequate to pursue their class

                                  20   claims. Cf. In re Lidoderm, 2017 WL 679367, at *26 (finding plaintiffs adequate in antitrust class

                                  21   action alleging that defendants had inflated the price of lidocaine patches, rejecting arguments that

                                  22   end purchasers had insuperable conflicts with employers or insurers that bore some of the costs,

                                  23   and finding that “any theoretical disputes between, for example, an end payor consumer and her

                                  24   health insurance plan over how their overcharge damages should be split. . . . does not create a

                                  25   type of conflict that precludes certification”).

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                                             Def. MCC Opp’n – ECF No. 445 at 30.
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                                   1         Second, Sutter argues that class members have conflicts because some class members received

                                   2   a net benefit from its allegedly anticompetitive practices “and would have been harmed in the

                                   3   world plaintiffs[] hypothesize absent Sutter’s challenged conduct.”111 Sutter and its expert Dr.

                                   4   Willig maintain that some class members derive more benefit from having Sutter hospitals in their

                                   5   health-insurance provider networks than any harm they suffer in increased health-insurance

                                   6   premiums attributable to Sutter’s alleged overcharges.112 Sutter argues that these class members

                                   7   thus have a conflict with other class members who do not derive such benefit and want to

                                   8   challenge Sutter’s practices.

                                   9         Sutter’s argument necessarily relies on an assumption that, in the but-for world where Sutter is

                                  10   barred from engaging in allegedly anticompetitive practices, health plans would no longer offer

                                  11   health-insurance policies that have Sutter hospitals in-network. In other words, Sutter’s argument

                                  12   assumes that in the but-for world, health plans would offer only narrow health-insurance policies
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                                  13   that exclude Sutter hospitals (or that place Sutter hospitals in a lower tier and increase the amount

                                  14   enrollees had to pay to use those hospitals113), thereby harming class members who currently

                                  15   benefit from having access to Sutter hospitals.

                                  16         But that is not the plaintiffs’ case theory. The plaintiffs’ theory is that in the but-for world,

                                  17   health plans would offer narrow policies that exclude some Sutter hospitals (e.g., the Sutter

                                  18   hospital in the Tying Markets) in addition to — not to the exclusion of — the broader policies they

                                  19   currently offer that include Sutter hospitals in-network.114 Class members who derive benefit from

                                  20

                                  21   111
                                             Def. MCC Opp’n – ECF No. 445 at 30.
                                  22
                                       112
                                          Def. MCC Sur-Reply – ECF No. 535 at 7–9; Willig Decl. – ECF Nos. 446-2 (under seal), 557
                                       (redacted) at 27–35 (¶¶ 34–45).
                                  23   113
                                           The fact that health plans might place Sutter hospitals in a lower tier does not, on its own,
                                       necessarily harm any class member. For example, if a health plan currently requires enrollees to make
                                  24   a co-payment of, say, $40 for hospital services, and then were to create a new health-insurance policy
                                       that placed Sutter hospitals in a lower tier and required enrollees to make a co-payment of $20 for
                                  25   services from hospitals in the highest tier and $40 for services from hospitals in the lowest tier (with
                                       all else being equal), no enrollee would be worse off.
                                  26   114
                                          As the plaintiffs explain, “Sutter’s ‘net harm’ argument distorts plaintiffs’ antitrust theory. Dr.
                                  27   Chipty posited that, in the but for world: (a) Sutter would have faced price competition due to the
                                       threat of exclusion, the launching of additional narrow networks and/or steering; (b) Sutter would have
                                  28   dropped its rates in order to retain critical patient volume; and (c) consumers would thus have

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                                   1   having Sutter hospitals in-network could remain in the original broader policies. Consequently,

                                   2   class members would not be worse off. Class members would also have the additional option of

                                   3   signing up for cheaper narrower policies that excluded Sutter hospitals (or placed them in a lower

                                   4   tier). Not all class members would sign up for those cheaper narrower policies, but some would.

                                   5   This would cause Sutter to lose patient volume. This loss in patient volume (and, thus, revenues)

                                   6   would pressure Sutter to lower its supra-competitive prices, so that health plans could in turn

                                   7   lower the premiums of the original Sutter-including broader policies to make them more appealing

                                   8   to customers and more competitive vis-à-vis the narrower policies.115 Those lower prices and

                                   9   premiums would benefit all class members. To take the example discussed above, no matter how

                                  10   much a class member might benefit from having a health-insurance policy that includes Sutter

                                  11   hospitals in-network, that class member would benefit more (and not be harmed) if she were able

                                  12   to enroll in that policy for, say, $90 a month instead of $100. That some class members benefit
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                                  13   from the inclusion of Sutter hospitals in-network does not mean that they benefit from Sutter’s

                                  14   alleged overcharges and, consequently, does not present a conflict that is so fundamental to the

                                  15   suit or goes so much to the heart of the litigation as to render the plaintiffs inadequate to pursue

                                  16   their class claims.

                                  17         Sutter’s expert Dr. Willig challenges the plaintiffs’ view and argues that in the but-for world

                                  18   — where Sutter faces the prospect of losing patient volume due to increased competition from

                                  19   cheaper narrower health-insurance policies that do not include Sutter hospitals in-network —

                                  20   Sutter might respond by increasing its prices instead of reducing them.116 Sutter argues that if

                                  21

                                  22   continued access to the hospitals of their choice (including any in-demand Sutter hospitals) but at
                                       lower prices. Consequently, in Dr. Chipty’s ‘but for’ world, all existing insurance products that include
                                  23   Sutter hospitals in-network would continue to exist, but at substantially lower prices, making all Class
                                       Members better off.” Pls. MCC Reply – ECF No. 559 at 14 (emphasis in original) (citing Chipty Reply
                                  24   Decl. – ECF Nos. 462-3 (under seal), 559-1 (redacted) at 20–24 (¶¶ 19–27)); accord Def. MCC Sur-
                                       Reply – ECF No. 535 at 6 (“Plaintiffs expressly allege that, in the but-for world, insurers ‘would have
                                  25   launched a number of additional “tiered” or “limited” or “narrow” networks.’”) (emphasis in original)
                                       (quoting 4AC – ECF No. 204 at 31 (¶ 97)).
                                  26   115
                                          Alternatively, health plans might be able simply to threaten to create new cheaper narrower policies
                                  27   that excluded Sutter hospitals (without actually going through with it) because even the threat of
                                       competing cheaper policies could exert pressure on Sutter to lower its prices. See infra note 117.
                                  28   116
                                             See, e.g., Willig Decl. – ECF No. 557 at 22 (¶ 22).

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                                   1   health plans then passed those increased prices through to the premiums the health plans charged

                                   2   their customers (i.e., class members), those class members who wanted to keep Sutter hospitals in-

                                   3   network would be worse off. But whether, in the but-for world, Sutter would respond to increased

                                   4   competition and the threatened loss of patient volume by reducing its prices or increasing them is

                                   5   not for the court to resolve on this class-certification motion. Cf. In re Lidoderm, 2017 WL

                                   6   679367, at *18 (“[W]hat the but-for price should have been is not appropriately resolved on this

                                   7   [class-certification] motion.”); see also In re Aftermarket Automotive Lighting Prods. Antitrust

                                   8   Litig., 276 F.R.D. 364, 373–74 (C.D. Cal. 2011) (“[I]n situations where a court is faced with two

                                   9   opposing expert analyses or econometric models of what the ‘but for’ world would look like, the

                                  10   Court is not supposed to decide at the certification stage which expert analysis or model is

                                  11   better.”) (citing In re TFT-LCD Antitrust Litig., 267 F.R.D. 291, 313 (N.D. Cal. 2010)). The

                                  12   plaintiffs and Dr. Chipty sufficiently support their position that Sutter would respond to a
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                                  13   threatened loss of patient volume by lowering, not raising, its prices (and thus leaving no intraclass

                                  14   conflict that goes to the heart of the litigation) to establish adequacy at this juncture.117

                                  15

                                  16   117
                                          Among other things, the plaintiffs and Dr. Chipty point to Sutter’s own assertions before the court
                                       in California v. Sutter Health, No. 3:99-cv-03803-MMC (N.D. Cal. filed Aug. 10, 1999), that health
                                  17   plans’ ability to steer patients away from Sutter — and thereby threaten Sutter with a loss of patient
                                       volume — would serve to “discipline” Sutter’s pricing.
                                  18
                                         The California Attorney General brought the California v. Sutter case in 1999, challenging as
                                  19   anticompetitive a proposed merger between Sutter’s Alta Bates Medical Center in Berkeley, Alameda
                                       County, and the then independently owned Summit Medical Center in Oakland, Alameda County. See
                                  20   California v. Sutter Health Sys., 84 F. Supp. 2d 1057, 1059–60 (N.D. Cal. 2001). In defending why the
                                       proposed merger would not be anticompetitive and would not result in higher prices for patients, Sutter
                                  21   argued to the court that “hospitals are very sensitive to even small declines in [patient] volume” and
                                       that “the loss of even a modest number of patients would be sufficient to discipline Alta Bates’ and
                                  22   Summit’s prices. Defendants’ economist estimates that a shift of less than 8% (equal to about an
                                       additional 1 patient per day in various competing East Bay hospitals) would be sufficient to prevent a
                                  23   5% increase at Summit or Alta Bates.” California v. Sutter Defs. Proposed Findings of Fact and
                                       Conclusions of Law – ECF No. 462-5 (under seal) at 15–17 (¶¶ 27, 30). Sutter argued that its
                                  24   hospitals’ “viability depends on volume, and only a modest loss of patients would be sufficient to
                                       discipline their pricing activity,” id. at 29 (¶ 55), that “the evidence establishes that relatively modest
                                  25   redirection of patients would impose a critical loss sufficient to defeat a price increase” by Sutter, id. at
                                       37 (¶ 70), that “[t]here are numerous mechanisms by which health plans can discipline the hospitals in
                                  26   the event of an attempted price increase. The simplest, but rarely used, is to exclude hospitals from the
                                       plans’ provider networks,” id. at 31 (¶¶ 58–59) (citations omitted), and thus that “if the combined Alta
                                  27   Bates/Summit acted in an anticompetitive manner, the physician groups could, either on their own or
                                       at the impetus of health plans, discipline the merged entity by admitting patients to other hospitals, by
                                  28   threatening to do so, or by shifting referrals (particularly for high value specialty services) to physician

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                                   1      The court finds that the plaintiffs have satisfied this component of Rule 23(a)(4)’s adequacy

                                   2   requirement.

                                   3

                                   4   2. Rule 23(b) Prerequisites

                                   5      2.1    Predominance — Rule 23(b)(3)

                                   6      Among other things, Rule 23(b)(3) requires that “the questions of law or fact common to class

                                   7   members predominate over any questions affecting only individual members.” “Considering

                                   8   whether ‘questions of law or fact common to class members predominate’ begins . . . with the

                                   9   elements of the underlying cause of action.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S.

                                  10   804, 809 (2011). The plaintiffs here bring claims under Sections 1 and 2 of the federal Sherman

                                  11   Antitrust Act, the California Cartwright Act, and the California Unfair Competition Law

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                                  13

                                  14   specialists at other hospitals,” id. at 36 (¶ 68). In 2001, the court denied the California Attorney
                                       General’s request for an injunction blocking the merger and allowed the merger to go forward,
                                  15   adopting Sutter’s arguments that “[w]hen faced with price increases, there are numerous mechanisms
                                       through which health plans can discipline hospitals. The simplest, but rarely used, is to exclude
                                  16   hospitals from the plans’ provider networks.” California v. Sutter, 84 F. Supp. 2d at 1078.

                                  17     Sutter’s own assertions in the California v. Sutter case, together with the other analyses Dr. Chipty
                                       discusses, Chipty Decl. – ECF No. 379-1 at 42–46 (¶¶ 57–63); Chipty Reply. Decl. – ECF Nos. 462-3
                                  18   (under seal), 559-1 (redacted version) at 21–24 (¶¶ 22–27), provide support for the plaintiffs’ position
                                       that in the but-for world, Sutter would lower its prices, not raise them, thereby benefiting all class
                                  19   members and leaving no fundamental intraclass conflicts. Cf. In re Online DVD II, 779 F.3d at 942
                                       (courts “do not ‘favor denial of class certification on the basis of speculative conflicts’”) (quoting
                                  20   Cummings, 316 F.3d at 896). Sutter’s disagreement with the plaintiffs’ but-for world may be a merits
                                       issue, but it does not defeat class certification in the first instance.
                                  21     It is worth noting that around the time that the merger was allowed or shortly thereafter, Sutter
                                       (according to the plaintiffs) began engaging in its systemwide-contracting practices, thereby allegedly
                                  22   preventing health plans from using the patient-steering mechanisms that Sutter argued in California v.
                                       Sutter would discipline it from imposing price increases. Following the merger, Sutter (according to
                                  23   the plaintiffs) increased its prices at Summit by 29.0 to 72.0 percent, significantly more than other
                                       hospitals. Chipty Reply Decl. – ECF No. 559-1 at 102–03 (¶ 164); see also Advocate Health, 841 F.3d
                                  24   at 472 (“For example, in 2001 the Northern District of California refused to enjoin a hospital merger,
                                       relying in part on patient movement data. In 2011, a follow-up study found that the cheaper of the two
                                  25   hospitals raised its prices by 29 to 72 percent, much more than a control group had.”) (citing
                                       California v. Sutter, 130 F. Supp. 2d at 1131–32, 1137; Steven Tenn, The Price Effects of Hospital
                                  26   Mergers: A Case Study of the Sutter-Summit Transaction, 18 Int’l J. of the Econ. of Bus. 65, 75–76
                                       (2011)). Whether Sutter in fact increased its prices to supra-competitive levels, and whether it was
                                  27   because of its systemwide-contracting practices that it was able to do so, are issues that can be
                                       addressed at the merits phase of the litigation.
                                  28

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                                   1   (“UCL”).118 “To establish a federal antitrust claim, ‘plaintiffs typically must prove (1) a violation

                                   2   of antitrust laws, (2) an injury they suffered as a result of that violation, and (3) an estimated

                                   3   measure of damages.’” In re Qualcomm, 328 F.R.D. at 296 (quoting In re High-Tech Emp., 985 F.

                                   4   Supp. 2d at 1183). “With regard to Plaintiffs’ Cartwright Act claim, ‘the analysis mirrors the

                                   5   analysis under federal law because the Cartwright Act was modeled after the Sherman Act.’” Cf.

                                   6   id. (quoting Cty. of Tuolumne v. Sonora Cmty. Hosp., 236 F.3d 1148, 1160 (9th Cir. 2001)). “Also,

                                   7   Plaintiffs’ UCL claim is premised at least in part upon the Sherman and Cartwright Act

                                   8   violations.” Cf. id. (citing Cel-Tech Commc’ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180

                                   9   (1999)). “Neither party identifies any material difference between the federal and state claims

                                  10   warranting separate treatment.” Cf. id. “Thus, the Court may treat the state law claims together

                                  11   with the federal claims in this case.” Cf. id.

                                  12             2.1.1   Antitrust violations
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                                  13         As discussed above, the plaintiffs have introduced evidence that Sutter engaged in common

                                  14   anticompetitive systemwide-contracting practices with respect to all five health plans at issue in

                                  15   this case and that its practices allow it to charge all five health plans supra-competitive rates in the

                                  16   same way.119 Sutter does not meaningfully dispute that the plaintiffs’ claims — that it violated the

                                  17   antitrust laws — are subject to common proof.120 The court finds that common questions will

                                  18   predominate with respect to the alleged antitrust violations.

                                  19             2.1.2   Antitrust injury and calculating damages

                                  20         “Antitrust ‘impact’ — also referred to as antitrust injury — is the ‘fact of damage’ that results

                                  21   from a violation of the antitrust laws.” In re Qualcomm, 328 F.R.D. at 299 (some internal

                                  22   quotation marks omitted) (quoting In re DRAM, 2006 WL 1530166, at *7). “‘It is the causal link

                                  23   between the antitrust violation and the damages sought by plaintiffs.’” Id. (quoting Brown v. Am.

                                  24

                                  25
                                       118
                                             4AC – ECF No. 204 at 38–43 (¶¶ 124–70).
                                  26   119
                                             See supra notes 18–24 and accompanying text.
                                  27   120
                                          See Def. MCC Opp’n – ECF No. 445 at 16–29 (disputing whether antitrust injury or damages
                                       calculations are subject to common proof but not disputing whether antitrust violations are subject to
                                  28   common proof).

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                                   1   Honda (In re New Motor Vehicles Canadian Antitrust Litig.), 522 F.3d 6, 19 n.18 (1st Cir. 2008)).

                                   2   “Thus, Plaintiffs here ‘must be able to establish, predominantly with generalized evidence, that all

                                   3   (or nearly all) members of the class suffered damage as a result of [defendant’s] alleged anti-

                                   4   competitive conduct.’” Id. (quoting In re High-Tech Emp., 289 F.R.D. at 567).

                                   5      On a motion for class certification, “plaintiffs [must] be able to show that their damages

                                   6   stemmed from the defendant’s actions that created the legal liability” and “must show that

                                   7   ‘damages are capable of measurement on a classwide basis,’ in the sense that the whole class

                                   8   suffered damages traceable to the same injurious course of conduct underlying the plaintiffs’ legal

                                   9   theory.” Nguyen v. Nissan N. Am., Inc., 932 F.3d 811, 817 (9th Cir. 2019) (some internal quotation

                                  10   marks omitted) (quoting Just Film, Inc. v. Buono, 847 F.3d 1108, 1120 (9th Cir. 2017)).

                                  11   “‘[U]ncertainty regarding class members’ damages does not prevent certification of a class as long

                                  12   as a valid method has been proposed for calculating those damages.’” Id. (quoting Lambert v.
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                                  13   Nutraceutical Corp., 870 F.3d 1170, 1182 (9th Cir. 2017), rev’d on other grounds, 139 S. Ct. 710

                                  14   (2019)). “Although uncertain damages calculations do not alone defeat certification, the Supreme

                                  15   Court has emphasized that ‘at the class-certification stage (as at trial), any model supporting a

                                  16   plaintiff’s damages case must be consistent with its liability case.’” Id. (emphasis in original, some

                                  17   internal quotation marks omitted) (quoting Comcast, 569 U.S. at 35).

                                  18      The plaintiffs’ liability theory is that Sutter charged the five health plans at issue in this case

                                  19   — Blue Shield, Anthem, Aetna, Health Net, and UnitedHealthcare — supra-competitive rates. The

                                  20   plaintiffs do not allege that Sutter directly charged class members supra-competitive rates. Instead,

                                  21   the alleged antitrust injury is indirect: the class members’ harm comes only to the extent the health

                                  22   plans passed on Sutter’s alleged overcharges through to class members in the form of higher

                                  23   premiums than the health plans would have charged in the but-for world. As a result, the plaintiffs

                                  24   have a two-fold burden: they must demonstrate that (1) the five health plans paid Sutter inflated

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                                  27

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                                   1   prices for inpatient hospital services, and then (2) those overcharges were passed on to class

                                   2   members in the form of inflated premiums. Cf., e.g., In re Qualcomm, 328 F.R.D. at 299.121

                                   3         Courts have recognized that “‘antitrust plaintiffs have in recent years trended toward

                                   4   presenting an econometric formula or other statistical analysis to show class-wide impact’ and that

                                   5   such analysis has often been accepted at the certification stage.” In re Optical Disk Drive Antitrust

                                   6   Litig., No. 3:10-md-2143 RS, 2016 WL 467444, at *7 (N.D. Cal. Feb. 8, 2016) (In re Optical Disk

                                   7   Drive II) (quoting In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478, 491 (N.D.

                                   8   Cal. 2008)). “‘[S]uch methods, where plausibly reliable, should be allowed as a means of common

                                   9   proof. To rule otherwise would allow antitrust violators a free pass in many industries.’” Id.

                                  10   (quoting In re Graphics Processing Units, 253 F.R.D. at 491). “Accordingly, it is clear that

                                  11   statistical and economic methodologies . . . may be employed to establish class-wide impact.” Id.

                                  12   (emphasis in original). Courts are cautious about “engaging in a battle of expert testimony” at the
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                                  13   certification stage. Id. at *6 (citing In re DRAM, 2006 WL 1530166, at *9); accord, e.g., In re

                                  14   Lidoderm, 2017 WL 679367, at *18. At the same time, “‘[c]ertification should not be automatic

                                  15   every time counsel dazzle the courtroom with graphs and tables.’” In re Optical Disk Drive II,

                                  16   2016 WL 467444, at *6 (internal brackets omitted) (quoting In re Graphics Processing Units, 253

                                  17   F.R.D. at 491). “If the presumption were otherwise, ‘nearly all antitrust plaintiffs could survive

                                  18   certification without fully complying with Rule 23.’” Id. (quoting In re Graphics Processing

                                  19   Units, 253 F.R.D. at 492). “‘It is now clear that Rule 23 not only authorizes a hard look at the

                                  20   soundness of statistical models that purport to show predominance — the rule commands it.’” Id.

                                  21   (internal ellipsis omitted) (quoting In re Rail Freight Fuel Surcharge Antitrust Litig. 725 F.3d 244,

                                  22   255 (D.C. Cir. 2013)). “Put another way, the inquiry must be to determine if the proffered expert

                                  23   testimony has the requisite integrity to demonstrate class-wide impact.” Id.; accord Nguyen, 932

                                  24   F.3d at 817 (plaintiff’s method for calculating damages must be “valid”).

                                  25

                                  26   121
                                          This distinguishes this case from the UFCW & Employers Benefit Trust v. Sutter Health class
                                       action pending against Sutter in state court. In contrast to the putative class here, the class in that case
                                  27   consists of self-funded payors that paid Sutter directly for healthcare charges incurred by their
                                       employee-members instead of buying health insurance. UFCW & Emps. Benefit Tr. v. Sutter Health,
                                  28   No. CGC - 14-538451, 2017 WL 11405066, at *5 (Cal. Super. Ct. S.F. Cty. Aug. 14, 2017).

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                                   1         The court has taken a “hard look” at the plaintiffs’ proposed methodology for assessing

                                   2   antitrust injury and calculating antitrust damages. The court finds the plaintiffs’ proposed

                                   3   methodology has at least two significant deficiencies that prevent the plaintiffs from relying on it

                                   4   to demonstrate that they can prove antitrust injury or calculate antitrust damages on a class-wide

                                   5   basis: (1) it does not include a reliable method for proving or calculating Sutter’s overcharges to

                                   6   the five health plans, and (2) it does not include a reliable method for proving or calculating how

                                   7   the overcharges were passed through to health-insurance premiums paid by class members.122

                                   8                 2.1.2.1      Calculating Sutter’s overcharges

                                   9         As discussed above, the plaintiffs and Dr. Chipty used a regression-analysis model that

                                  10   purports to calculate what portion of Sutter’s charges to the health plans Anthem and Blue Shield

                                  11   are attributable to Sutter’s alleged anticompetitive practices. Dr. Chipty has not offered an

                                  12   overcharge model with respect to Aetna, Health Net, or UnitedHealthcare.123 She stated that she
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                                  13   had two approaches for addressing those three health plans — (1) trying to run her regression-

                                  14   analysis model on them or (2) extrapolating her findings from some health plans to other health

                                  15   plans — but she had not reached an opinion as to which approach she preferred, did not know if

                                  16   she could run regression analyses on those three health plans, and did not have an opinion about

                                  17   whether extrapolation would be reasonable.124 She does not explain how one of her two

                                  18   alternatives — extrapolation — would actually work: despite the fact that her regression-analysis

                                  19   model returned significantly different overcharge rates as between Anthem and Blue Shield,125 she

                                  20   does not explain how she would reconcile those differences to use them to extrapolate rates for

                                  21   Aetna, Health Net, or UnitedHealthcare. Assuming without deciding that Dr. Chipty’s regression-

                                  22

                                  23
                                       122
                                          The court is not engaging in a “battle of the experts” here. The court does not find that the
                                       plaintiffs’ methodology is unreliable because Sutter’s experts or methodologies are more persuasive.
                                  24   Rather, it finds that the plaintiffs’ methodology is unreliable due to deficiencies within the
                                       methodology.
                                  25   123
                                             See supra note 52.
                                       124
                                  26         See supra notes 53–56.
                                       125
                                             For example, her model calculated the overcharge rate by Sutter’s Alta Bates Main hospital in 2006
                                  27   as              for Anthem and 53 percent for Blue Shield,                         . See supra notes 47,
                                       51.
                                  28

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                                   1   analysis model for Anthem and Blue Shield is sound, the plaintiffs nonetheless have not

                                   2   demonstrated that they can prove or calculate Sutter’s overcharges on a class-wide basis given that

                                   3   they have not offered a method (or hedged between various methods) for calculating overcharges

                                   4   for the remaining three health plans, customers of which Dr. Chipty estimates comprise 30 percent

                                   5   of the class.126

                                   6         The court in In re Lithium Ion Batteries was confronted with a similar situation. The plaintiffs

                                   7   there alleged that battery manufacturers engaged in a price-fixing conspiracy to inflate the price of

                                   8   batteries used in portable consumer electronics (e.g., laptops, smartphones, etc.). In re Lithium Ion

                                   9   Batteries I, 2017 WL 1391491, at *1–2. The plaintiffs relied on an expert report and model to

                                  10   prove and calculate damages on a class-wide basis. Id. at *16. The court found, however, that:

                                  11             [The expert]’s analysis fails to provide a firm foundation for class certification
                                                 because he was unable to complete an analysis based on the actual cost data for any
                                  12             products other than Toshiba laptops. Further, even in his analysis of the Toshiba
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                                                 products, the data was limited and required some extrapolation. The data for all
                                  13
                                                 other products was, by [the expert]’s own admission, insufficient to run an analysis
                                  14             as to any of the other products types covered by the class definition. While it is
                                                 unclear where to lay the blame, the Court nevertheless cannot ignore the large gaps
                                  15             in the evidence supporting the ability to demonstrate impact and damages on a
                                                 class-wide basis. . . . As it stands, the analysis of the Toshiba laptops alone does not
                                  16             satisfy the Court that a showing of antitrust impact for that product can be
                                  17             extrapolated as a measure of impact for the rest of the Cells, Batteries and Finished
                                                 Products in the class definition.
                                  18
                                  19   Id. at *17–18. The court reaches a similar conclusion here. Dr. Chipty offers an overcharge model

                                  20   only for Anthem and Blue Shield, which is insufficient to demonstrate a method for proving

                                  21   antitrust impact or calculating damages on a class-wide basis across the entire class.127

                                  22

                                  23
                                       126
                                             Chipty Reply Decl. – ECF No. 559-1 at 16–17 (¶ 13).
                                       127
                                          The plaintiffs argue that “[c]lasses have . . . been certified where experts have proposed a damages
                                  24   model, but have not yet actually calculated any damages for any class members.” Pls. Sur-Sur-Reply –
                                       ECF No. 569 at 4 (emphasis in original). But it is not simply that the plaintiffs have not calculated
                                  25   damages for Aetna, Health Net, or UnitedHealthcare. They have not proposed a damages model (or try
                                       to hedge between two different models, in order to have it both ways). See supra notes 52, 54.
                                  26
                                         The court also has some questions about other aspects of Dr. Chipty’s overcharge model with respect
                                  27   to Anthem and Blue Shield. For example, her model shows an undercharge — rather than an
                                       overcharge — for Blue Shield by one of Sutter’s hospitals in a Tied Market, Sutter Santa Rosa. See
                                  28   supra note 51. Dr. Chipty testified that this reflects that her model has “an inability to measure the

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                                   1               2.1.2.2     Assuming health plans “pass on” 100 percent of any Sutter overcharges
                                                               they have to pay through to the premiums that they charge their
                                   2                           customers
                                   3       “Where, as here, the class is composed of indirect purchasers, ‘proof of class-wide antitrust
                                   4   impact is made more complex because plaintiffs must offer a model of impact and damages that
                                   5   demonstrates the alleged overcharge was passed through to each successive link in the distribution
                                   6   chain, and ultimately to the plaintiffs.’” In re Qualcomm, 328 F.R.D. at 301 (quoting In re Lithium
                                   7   Ion Batteries Antitrust Litig., No. 13-MD-2420 YGR, 2018 WL 1156797, at *3 (N.D. Cal. Mar. 5,
                                   8   2018) (In re Lithium Ion Batteries II)).
                                   9       Courts in indirect-purchaser antitrust cases have recognized the use of averaging in calculating
                                  10   passthrough rates where experts have shown the sound methodological steps through which they
                                  11   calculated their averages. See, e.g., id. at 315 (collecting cases). For example, In re Qualcomm —
                                  12   an antitrust case against a manufacturer of “modem chips” used in cellphones brought by a class of
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                                  13   indirect purchasers who bought phones containing the chips — the plaintiffs’ expert calculated an
                                  14   average passthrough rate from the chip manufacturer through cellphone manufacturers and
                                  15   retailers to cellphone buyers through regression analyses based on sales data from (1) six major
                                  16   cellphone manufacturers, including the five largest manufacturers in the U.S. market (Apple,
                                  17   Samsung, Motorola, LG, and HTC), representing approximately 90 percent of total cellphone
                                  18   sales, (2) six of the largest U.S. retailers (including Best Buy, Amazon, Wal-Mart, and Target),
                                  19   representing approximately 84 percent of the retailer market, and (3) five wireless carriers,
                                  20   including the four major U.S. carriers (AT&T, Sprint, T-Mobile, and Verizon) and one regional
                                  21   carrier, representing approximately 97 percent of the wireless-carrier market. Id. at 302–03. The
                                  22   expert used ten control variables in his regressions (the same ten control variables that the
                                  23

                                  24
                                       overcharge for Sutter-Santa Rosa.” See supra note 57. It is unclear if the plaintiffs are taking the
                                  25   position that Sutter did not overcharge Blue Shield at its Sutter Santa Rosa hospital or if they are
                                       taking the position that it did overcharge and that they need a new model to determine how much it
                                  26   overcharged (because their current model cannot measure that overcharge). The latter raises the
                                       prospect of the plaintiffs proposing additional individualized overcharge models for specific hospitals
                                  27   or health plans. In light of the court’s decision on other grounds that the plaintiffs have not provided a
                                       sufficient model, it need not fully resolve these questions now, but it raises them as issues that may
                                  28   need to be addressed on any further class-certification motion.

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                                   1   defendant used in a submission to the FTC) and calculated separate passthrough rates for each of

                                   2   18 sales channels, which he then weighted to calculate an overall sales-channel-weighted average

                                   3   passthrough rate of 87.4 percent. Id. at 303–04. In finding that the expert’s average weighted

                                   4   passthrough rate was sufficient to support class certification, the court found that:

                                   5            [The plaintiffs’ expert] does not simply assume a uniform pass-through rate for
                                                OEMs. Instead, he examines transactional data for six different OEMs — including
                                   6            the five largest OEMs in the U.S. market (Apple, Samsung, Motorola, LG, and
                                                HTC) — who “accounted for approximately 90% of total cell phone sales” during
                                   7
                                                the relevant period. [He] calculates individual pass-through rates for these six
                                   8            OEMs in order to model a composite pass-through rate.

                                   9   Id. at 308. By contrast, courts have rejected the use of averaging in calculating passthrough rates

                                  10   where experts have not shown the sound methodological steps through which they calculated their

                                  11   averages. For example, in In re Lithium Ion Batteries — an antitrust case against manufacturers of

                                  12   batteries used in consumer electronics — the plaintiffs’ expert assumed that the passthrough rate at
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                                  13   each level in the distribution chain from the battery manufacturers to device manufacturers to

                                  14   retailers to the end consumers approached 100 percent without sufficiently supporting his analysis.

                                  15   In re Lithium Ion Batteries I, 2017 WL 1391491, at *12. Among other things, “[the expert]

                                  16   acknowledged that bundling, rebates, and discounts would affect the accuracy of cost data, but

                                  17   apparently has offered no methodology to account for it in his analysis.” Id.128 The court there

                                  18   “f[ound] the [expert’s] declarations insufficient to show that pass-through and damages can be

                                  19   established by expert analysis on a class-wide basis” and denied certification. Id. On a renewed

                                  20   motion a year later, the court found that the expert’s supplemental analysis still failed to account

                                  21   for a central issue affecting passthrough rates (focal-point pricing; meaning, the practice of

                                  22   retailers setting prices at certain “focal points,” such as prices ending with 9, and not adjusting

                                  23   such prices based on small differences in costs) and thus “left too much uncertainty as to whether

                                  24   pass-through can be estimated reliably at 100% as to retailers or distributors farther down the

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                                       128
                                           By way of contrast, the expert in In re Qualcomm “perform[ed] separate pass-through rate
                                  27   calculations for subsidized and unsubsidized phones and f[ound] statistically significant pass-through
                                       rates for each wireless carrier for subsidized and unsubsidized phones.” In re Qualcomm, 328 F.R.D.
                                  28   at 310.

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                                   1   supply chain, and ultimately to the consumers who make up the proposed class,” and once again

                                   2   denied certification. In re Lithium Ion Batteries II, 2018 WL 1156797, at *4.

                                   3         The In re Optical Disk Drive antitrust litigation is instructive because the court there first

                                   4   denied class certification due in part to deficiencies in the plaintiffs’ passthrough assumptions and

                                   5   then, two years later, granted a renewed motion for class certification. The plaintiffs there alleged

                                   6   that optical-disc-drive (“ODD”) manufacturers engaged in bid-rigging to prop up the price of

                                   7   ODDs. In re Optical Disk Drive Antitrust Litig., 303 F.R.D. 311, 314 (N.D. Cal. 2014) (In re

                                   8   Optical Disk Drive I).129 The plaintiffs sought to certify a class of direct-purchaser plaintiffs

                                   9   (“DPPs”) that bought ODDs directly from the defendants, id. at 316, and a class of indirect-

                                  10   purchaser plaintiffs (“IPPs”) that bought products that contained ODDs manufactured by the

                                  11   defendants (but which the IPPs did not buy directly from the defendants), id. at 323. On the

                                  12   plaintiffs’ initial class-certification motion, the plaintiffs’ expert aggregated prices for all
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                                  13   purchasers who bought ODDs of particular types in given years before running a regression

                                  14   analysis to calculate a passthrough rate. Id. at 324. The court found that this resulted in “class-

                                  15   wide impact . . . being assumed by the models, rather than demonstrated by the results.” Id.

                                  16   (emphasis in original). The expert “purport[ed] to test the validity of his models by looking to

                                  17   specific examples in the data,” but the court rejected this approach, holding that “[i]dentifying

                                  18   some instances where the empirical data appears to match the model does not transform the

                                  19   analysis from one that assumes class-wide impact into one that proves it.” Id. The court ultimately

                                  20   concluded that “the IPPs have not presented a persuasive explanation as to why it would be

                                  21   reasonable to assume a uniform pass through rate” and denied certification. Id.

                                  22         Two years later, the plaintiffs moved for certification again, this time for a narrower IPP class.

                                  23   In re Optical Disk Drive II, 2016 WL 467444, at *3. The plaintiffs’ expert offered a modified

                                  24   overcharge model that, among other things, “integrate[d] all ‘useable’ sales and costs data

                                  25   produced — from 86 percent of the market” and “provide[d] further detail on the multivariable

                                  26
                                  27   129
                                          “Optical discs” include CDs and DVDs. In re Optical Disk Drive I, 303 F.R.D. at 314. While the
                                       action was captioned “Optical Disk Drive Antirust Litigation,” apparently “disc” (not “disk”) is the
                                  28   preferred spelling for optical media. Id. at 314 n.1.

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                                   1   regression analysis, which [the plaintiffs] contend shows that all factors other than [the antitrust]

                                   2   conspiracy are being adequately controlled for in the overcharge model.” Id. at *6. The court

                                   3   found that this new analysis, which measured passthrough rates for over 273 million ODD

                                   4   products, id. at *9, was sufficient to support certification.

                                   5         Dr. Chipty’s passthrough analyses here have more in common with the deficient models in In

                                   6   re Lithium Ion Batteries and the first In re Optical Disk Drive decision than the models in In re

                                   7   Qualcomm, the second In re Optical Disk Drive decision, or other decisions where courts have

                                   8   accepted passthrough models. Dr. Chipty began by assuming what she needs to prove, namely,

                                   9   that each of the five health plans pass on 100 percent of any Sutter overcharges through to the

                                  10   premiums they charge their customers. Dr. Chipty based her 100-percent-passthrough assumption

                                  11   in large part on the Bob Reed PowerPoint presentation where Sutter supposedly assumed a 100-

                                  12   percent-passthrough rate for the purpose of running hypotheticals
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                                  13

                                  14             .130 Contrary to Dr. Chipty’s inference, the hypothetical in that presentation does not

                                  15   establish that Sutter actually concluded that health plans pass on 100 percent of Sutter’s price

                                  16   reductions (or increases) through to their customers’ premiums. Even if it did, the fact that Sutter

                                  17   (which is not a health plan) might have drawn this conclusion does not establish that health plans

                                  18   actually pass on 100 percent of price reductions (or increases) through to their customers’

                                  19   premiums. Dr. Chipty further based her 100-percent-passthrough assumption on documents and

                                  20   analyses that she said indicates that health plans try to set premiums at a level that covers all their

                                  21   expenses and that when their costs increase, their premiums do as well.131 The fact that health

                                  22   plans try to set premiums at a level that covers all their expenses as a whole, or that their

                                  23   premiums generally increase when their costs increase, does not establish that health plans pass on

                                  24   100 percent of any given cost increase or overcharge through to their customers. To the contrary,

                                  25   Dr. Chipty herself acknowledged that “a health plan may decide to absorb some portion of a

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                                  27         See supra notes 77–79.
                                       131
                                             See supra note 80.
                                  28

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                                   1   medical cost increase, by cutting into [its] margins,” rather than passing on 100 percent of those

                                   2   increases to its customers.132

                                   3         Dr. Chipty tries to bolster her 100-percent-passthrough-rate assumption with a regression

                                   4   analysis. Her original regression analysis is overly simplistic, using data only from small-group

                                   5   employers (not individuals or large-group employers) and measuring the relationship between

                                   6   PMPM premiums and only a single explanatory variable, PMPM costs. Dr. Chipty herself

                                   7   acknowledged that this was “a very simple regression model” and that this model might not be

                                   8   appropriate if the relationship between a health plan’s costs (including costs in paying hospitals

                                   9   like Sutter) and the health plan’s premiums were complex.133 She said that she nonetheless elected

                                  10   to use this simple model because she assumed that the relationship between costs and premiums

                                  11   was “formulaic.”134 In other words, Dr. Chipty assumed what she set out to prove — that the

                                  12   method by which health plans pass on their costs through to their customers’ premiums is in fact
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                                  13   “formulaic” — and then developed a “simple” regression-analysis model to try to support that

                                  14   assumption. Cf. In re Optical Disk Drive I, 303 F.R.D. at 324 (finding unreliable models that

                                  15   assumed class-wide impact, rather than demonstrating class-wide impact).

                                  16         Among the model’s other flaws is its failure to take into account how competition from rival

                                  17   health plans (including Kaiser Permanente) affects a health plan’s decision to pass its costs

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                                             See supra note 60.
                                  21   133
                                           See Chipty Dep. – ECF No. 415-1 (under seal) at 114 (pp. 391–92) (“Q. Are you aware of any
                                  22   generally accepted method of determining the pass-through rates? A. Oh, I believe this is a generally
                                       accepted method. There are a range of methods ranging from simple to highly complicated that people
                                  23   use and can use. And it just depends, I think, on the context and the available evidence to study as well
                                       as the other corroborating evidence you have. So I view this as a component of the larger evidence that
                                  24   I use to reach my conclusion. Now, would I do exactly the same thing in a different setting? Probably
                                       not. I would have to adapt to the — to the circumstances and the facts of the case. Q. What would it
                                  25   depend on? A. It would depend in part on the complexity of the relationship between the price and the
                                       cost. Here are the reasons — clear reasons to believe, given the rate setting process, that there is a, if
                                  26   you will, formulaic relationship between costs and premiums. So that’s part of the underpinning that
                                       led me to believe that there would surely be a relationship, and the question was to what extent are
                                  27   those movements correlated.”).
                                       134
                                             See id.
                                  28

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                                   1   through to its premiums.135 Dr. Chipty stated in her report that “[t]o the extent health plans like

                                   2   Anthem and Blue Shield would absorb cost increases to compete with Kaiser, pass-through may

                                   3   be less than 100 percent.”136 But she offers no methodology for taking health-plan competition

                                   4   into account in her original regression-analysis model, undermining her model’s reliability. Cf.

                                   5   Lithium Ion Batteries I, 2017 WL 1391491, at *12 (finding unreliable models where expert

                                   6   acknowledged that certain factors would affect the accuracy of cost data but had no methodology

                                   7   to account for those factors in his analysis).

                                   8         Dr. Chipty’s additional analyses in her reply declaration fare no better. For one health plan,

                                   9   Aetna, Dr. Chipty does not dispute Dr. Willig’s analysis estimating a passthrough rate of 30

                                  10   percent, with a 95-percent confidence interval ranging from negative 16.4 percent and 76.8

                                  11   percent.137 Dr. Chipty describes this 30-percent-passthrough rate as being “not statistically

                                  12   different from a pass-through rate as high as 77 percent”138 — ignoring that, by that same logic, it
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                                  13   also is not statistically different from a passthrough rate as low as negative 16.4 percent — and

                                  14   then offers no analysis for how she went from a passthrough rate “as high as 77 percent” to

                                  15   assuming a significantly higher 100-percent-passthrough rate for Aetna in her damages model.

                                  16   Similarly, of the 23 passthrough calculations that she listed in Exhibit 8 of her reply declaration,139

                                  17           of them (i.e., more than         of her results) had 95-percent-confidence intervals whose

                                  18   upper bound fell below 1 — meaning that for those regressions, there was less than a five-percent

                                  19   chance that the actual passthrough rate was as high as 100 percent. Other than saying that these

                                  20   results nevertheless were “near” or “close to” 100 percent140 — terms she does not define with any

                                  21   precision141 — she does not explain how these results or her analyses support her decision to

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                                  23   135
                                          Cf. supra notes 69–74 and accompanying text (discussing examples where health plans did not pass
                                       on costs through to their customers’ premiums due to competition from rival health plans).
                                  24   136
                                             See supra note 67; see also supra notes 62, 68.
                                  25   137
                                             See supra note 88.
                                       138
                                  26         See supra note 91.
                                       139
                                             See supra note 89.
                                  27   140
                                             See supra note 95.
                                  28   141
                                             See supra note 96.

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                                   1   assume a uniform 100-percent-passthrough rate across all health plans, all business lines, all

                                   2   health-insurance products, in all competitive situations.

                                   3       The court finds that Dr. Chipty’s analyses are insufficient to show that antitrust injury and

                                   4   damages can be established on a class-wide basis. And absent a sound methodology for proving

                                   5   on a class-wide basis what Sutter’s overcharges were and how those overcharges were passed

                                   6   through to the class, the plaintiffs have not met their burden of showing that common issues

                                   7   predominate. Cf. In re Optical Disk Drive I, 303 F.R.D. at 324 (absent a class-wide methodology

                                   8   for calculating overcharges and passthroughs, the case would result in “‘thousands of mini-trials,

                                   9   rendering this case unmanageable and unsuitable for class action treatment’”). The court therefore

                                  10   denies the plaintiffs’ motion to certify their proposed class under Rule 23(b)(3). Cf. In re Lithium

                                  11   Ion Batteries II, 2018 WL 1156797, at *5 (denying certification due to lack of valid class-wide

                                  12   passthrough model); In re Lithium Ion Batteries I, 2017 WL 1391491, at *19 (same); In re Optical
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                                  13   Disk Drive I, 303 F.R.D. at 324–25 (same).

                                  14       This denial is without prejudice to the plaintiffs moving to certify a Rule 23(b)(3) class if they

                                  15   are able to make a fuller showing that they can prove antitrust injury and calculate damages on a

                                  16   class-wide basis with a model that addresses the deficiencies the court identified here (and any

                                  17   other deficiencies that may be present elsewhere in their models). Cf. In re Lithium Ion Batteries I,

                                  18   2017 WL 1391491, at *12. This denial also is without prejudice to the plaintiffs moving to certify

                                  19   a Rule 23(b)(3) class for settlement purposes, which does not raise the same manageability issues

                                  20   that certifying a litigation class does. In re Hyundai and Kia, 926 F.3d at 556–57 (“The criteria for

                                  21   class certification are applied differently in litigation classes and settlement classes. In deciding

                                  22   whether to certify a litigation class, a district court must be concerned with manageability at trial.

                                  23   However, such manageability is not a concern in certifying a settlement class where, by definition,

                                  24   there will be no trial.”).

                                  25       2.2   Acting on Grounds That Apply Generally to the Class — Rule 23(b)(2)

                                  26       A court may certify a class under Rule 23(b)(2) if “the party opposing the class has acted or

                                  27   refused to act on grounds that apply generally to the class, so that final injunctive relief or

                                  28   corresponding declaratory relief is appropriate respecting the class as a whole[.]”

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                                   1      “‘The key to the (b)(2) class is the ‘indivisible nature of the injunctive or declaratory remedy

                                   2   warranted — the notion that the conduct is such that it can be enjoined or declared unlawful only

                                   3   as to all of the class members or as to none of them.’” B.K. ex rel. Tinsley v. Snyder, 922 F.3d 957,

                                   4   971 (9th Cir. 2019) (quoting Wal-Mart, 564 U.S. at 360). “‘In other words, Rule 23(b)(2) applies

                                   5   only when a single injunction or declaratory judgment would provide relief to each member of the

                                   6   class. It does not authorize class certification when each individual class member would be

                                   7   entitled to a different injunction.’” Id. (quoting Wal-Mart, 564 U.S. at 360).

                                   8      Rule 23(b)(2) “does not require [courts] to examine the viability or bases of class members’

                                   9   claims for declaratory and injunctive relief, but only to look at whether class members seek

                                  10   uniform relief from a practice applicable to all of them.” Rodriguez v. Hayes, 591 F.3d 1105, 1125

                                  11   (9th Cir. 2010). “‘[I]t is sufficient’ to meet the requirements of Rule 23(b)(2) that ‘class members

                                  12   complain of a pattern or practice that is generally applicable to the class as a whole.’” Id. (quoting
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                                  13   Walters v. Reno, 145 F.3d 1032, 1047 (9th Cir. 1998)). “The fact that some class members may

                                  14   have suffered no injury or different injuries from the challenged practice does not prevent the class

                                  15   from meeting the requirements of Rule 23(b)(2).” Id. (citing Walters, 145 F.3d at 1047).

                                  16   “Furthermore, unlike actions brought under one of the other 23(b) prongs, ‘questions of

                                  17   manageability and judicial economy are irrelevant to 23(b)(2) class actions.’” Id. (internal ellipsis

                                  18   omitted) (quoting Forbush v. J.C. Penney Co., Inc., 994 F.2d 1101, 1105 (5th Cir. 1993)).

                                  19      The Ninth Circuit has recently instructed that courts should not impose a “cohesiveness”

                                  20   requirement in assessing whether certification under Rule 23(b)(2) is appropriate. Senne v. Kan.

                                  21   City Royals Baseball Corp., 934 F.3d 918, 937–38 (9th Cir. 2019) (internal brackets omitted)

                                  22   (quoting Fed. R. Civ. P. 23(b)(2)). “Although common issues must predominate for class

                                  23   certification under Rule 23(b)(3), no such requirement exists under 23(b)(2).” Id. at 938 (quoting

                                  24   Walters, 145 F.3d at 1047). Instead, “Rule 23(b)(2) . . . requires only that ‘the party opposing the

                                  25   class have acted or refused to act on grounds that apply generally to the class, so that final

                                  26   injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

                                  27   whole.’” Id. at 928 (internal brackets omitted) (quoting Fed. R. Civ. P. 23(b)(2)). Due to Rule

                                  28   23(b)(2)’s and Rule 23(b)(3)’s differing requirements, courts have granted motions to certify

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                                   1   putative classes under Rule 23(b)(2) while denying motions to certify the classes under Rule

                                   2   23(b)(3). See, e.g., Ang v. Bimbo Bakeries USA, Inc., No. 13-cv-01196-HSG, 2018 WL 4181896,

                                   3   at *12, *17 (N.D. Cal. Aug. 31, 2018) (denying certification under Rule 23(b)(3) “[b]ecause

                                   4   Plaintiffs have not shown that the economic harm they allegedly sustained . . . is capable of

                                   5   measurement on a classwide basis” but granting certification under Rule 23(b)(2) because “a

                                   6   single injunction would provide relief to each member of the class”) (internal ellipsis omitted);

                                   7   Campbell v. Facebook Inc., 315 F.R.D. 250, 269–70 (N.D. Cal. 2016) (same).

                                   8         The plaintiffs here seek a single injunction or declaratory judgment — namely, an injunction

                                   9   barring Sutter from engaging in anticompetitive behavior, including its systemwide-contracting

                                  10   practices with their “all-or-nothing,” “anti-steering,” and “penalty rate” provisions or a declaration

                                  11   that Sutter’s practices are anticompetitive and violate the antitrust laws — that would provide

                                  12   relief to each member of the class.142 They therefore have satisfied the requirement for certifying a
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                                  13   class under Rule 23(b)(2). Cf. In re Qualcomm, 328 F.R.D. at 318–19 (certifying Rule 23(b)(2)

                                  14   class in antitrust case); In re TFT-LCD, 267 F.R.D. at 595–97 (same).143

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                                           The plaintiffs do not need to specify at the class-certification stage the precise injunction they will
                                  21   ultimately seek on the merits. B.K., 922 F.3d at 972.
                                       143
                                          Sutter argues that the putative class is not sufficiently “cohesive” to be certified under Rule 23(b)(2)
                                  22   and argues that “[t]he need for cohesiveness under (b)(2) is similar to the requirements of
                                       ‘predominance’ and ‘superiority’ under Rule 23(b)(3),” citing cases from the Third Circuit. Def. MCC
                                  23   Opp’n – ECF No. 445 at 31–32. This argument fails in light of the Ninth Circuit’s decision in Senne,
                                       934 F.3d at 937–38. Sutter also argues that certification under Rule 23(b)(2) is improper because (so it
                                  24   claims) many class members benefited from its practices. Def. MCC Opp’n – ECF No. 445 at 32. As
                                       the court discussed above in the context of Rule 23(a)(4)’s adequacy requirement, Sutter’s argument
                                  25   about ostensible “benefit” to some class members from its practices is misplaced. Additionally,
                                       arguments that some hypothetical members of the class allegedly benefit from the practices that the
                                  26   class seeks to enjoin and do not want those practices to end do not provide a basis for denying
                                       certification under Rule 23(b)(2). Campbell, 315 F.R.D. at 269–70 (citing In re Yahoo Mail Litig., 308
                                  27   F.R.D. 577, 601 (N.D. Cal. 2015)). “[C]lass certification is not a decision on the merits, and the
                                       plaintiffs will only be entitled to injunctive relief if such relief is necessary to redress the . . . violations
                                  28   they actually prove at trial.” B.K., 922 F.3d at 971.

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                                   1                                           CONCLUSION

                                   2      The court grants the plaintiffs’ motion to certify their proposed class under Rule 23(b)(2) and

                                   3   denies without prejudice their motion to certify their proposed class under Rule 23(b)(3).

                                   4

                                   5      IT IS SO ORDERED.

                                   6      Dated: August 30, 2019

                                   7                                                   ______________________________________
                                                                                       LAUREL BEELER
                                   8                                                   United States Magistrate Judge
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